                                                                               Case 15-14390-JNP                       Doc 1Filed 03/13/15 Entered 03/13/15 12:49:30 Desc Main
                                                                     B1 (Official Form 1) (04/13)                          Document      Page 1 of 42
                                                                                                           United States Bankruptcy Court
                                                                                                                District of New Jersey                             Voluntary Petition
                                                                      Name of Debtor (if individual, enter Last, First, Middle):                              Name of Joint Debtor (Spouse) (Last, First, Middle):
                                                                      Glancey, William E.
                                                                      All Other Names used by the Debtor in the last 8 years                                  All Other Names used by the Joint Debtor in the last 8 years
                                                                      (include married, maiden, and trade names):                                             (include married, maiden, and trade names):
                                                                      William E. Glancey, Jr.


                                                                      Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN) /Complete EIN          Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN) /Complete EIN
                                                                      (if more than one, state all):     6843                                                 (if more than one, state all):

                                                                      Street Address of Debtor (No. & Street, City, State & Zip Code):                        Street Address of Joint Debtor (No. & Street, City, State & Zip Code):
                                                                      256 Asbury Road
                                                                      Egg Harbor Twp., NJ
                                                                                                                            ZIPCODE 08234                                                                                    ZIPCODE
                                                                      County of Residence or of the Principal Place of Business:                              County of Residence or of the Principal Place of Business:
                                                                      Atlantic
                                                                      Mailing Address of Debtor (if different from street address)                            Mailing Address of Joint Debtor (if different from street address):


                                                                                                                             ZIPCODE                                                                                         ZIPCODE
                                                                      Location of Principal Assets of Business Debtor (if different from street address above):

                                                                                                                                                                                                                             ZIPCODE
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                                                                                         Type of Debtor                                      Nature of Business                                Chapter of Bankruptcy Code Under Which
                                                                                     (Form of Organization)                                   (Check one box.)                                    the Petition is Filed (Check one box.)
                                                                                        (Check one box.)                           Health Care Business                                    Chapter 7                    Chapter 15 Petition for
                                                                     üIndividual (includes Joint Debtors)
                                                                      See Exhibit D on page 2 of this form.
                                                                                                                                   Single Asset Real Estate as defined in 11
                                                                                                                                   U.S.C. § 101(51B)
                                                                                                                                                                                           Chapter 9
                                                                                                                                                                                           Chapter 11
                                                                                                                                                                                                                        Recognition of a Foreign
                                                                                                                                                                                                                        Main Proceeding
                                                                        Corporation (includes LLC and LLP)                         Railroad                                                Chapter 12                   Chapter 15 Petition for
                                                                        Partnership
                                                                        Other (If debtor is not one of the above entities,
                                                                                                                                   Stockbroker
                                                                                                                                   Commodity Broker
                                                                                                                                                                                       ü   Chapter 13                   Recognition of a Foreign
                                                                                                                                                                                                                        Nonmain Proceeding
                                                                        check this box and state type of entity below.)            Clearing Bank                                                              Nature of Debts
                                                                                                                                   Other                                                                      (Check one box.)
                                                                                      Chapter 15 Debtor
                                                                      Country of debtor’s center of main interests:                           Tax-Exempt Entity
                                                                                                                                                                                       ü    Debts are primarily consumer
                                                                                                                                                                                           debts, defined in 11 U.S.C.
                                                                                                                                                                                                                               Debts are primarily
                                                                                                                                                                                                                               business debts.
                                                                      __________________________________________                           (Check box, if applicable.)                     § 101(8) as “incurred by an
                                                                      Each country in which a foreign proceeding by,               Debtor is a tax-exempt organization under               individual primarily for a
                                                                      regarding, or against debtor is pending:                     Title 26 of the United States Code (the                 personal, family, or house-
                                                                      __________________________________________                   Internal Revenue Code).                                 hold purpose.”
                                                                                          Filing Fee (Check one box)                                                             Chapter 11 Debtors
                                                                                                                                             Check one box:
                                                                     ü  Full Filing Fee attached
                                                                                                                                               Debtor is a small business debtor as defined in 11 U.S.C. § 101(51D).
                                                                                                                                               Debtor is not a small business debtor as defined in 11 U.S.C. § 101(51D).
                                                                        Filing Fee to be paid in installments (Applicable to individuals
                                                                        only). Must attach signed application for the court’s                Check if:
                                                                        consideration certifying that the debtor is unable to pay fee            Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less
                                                                        except in installments. Rule 1006(b). See Official Form 3A.              than $2,490,925 (amount subject to adjustment on 4/01/16 and every three years thereafter).
                                                                                                                                               ----------------------------------------------------------------
                                                                        Filing Fee waiver requested (Applicable to chapter 7 individuals     Check all applicable boxes:
                                                                        only). Must attach signed application for the court’s                  A plan is being filed with this petition
                                                                        consideration. See Official Form 3B.                                   Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                                                                                               accordance with 11 U.S.C. § 1126(b).
                                                                      Statistical/Administrative Information                                                                                                                      THIS SPACE IS FOR
                                                                                                                                                                                                                                  COURT USE ONLY
                                                                      ü  Debtor estimates that funds will be available for distribution to unsecured creditors.
                                                                         Debtor estimates that, after any exempt property is excluded and administrative expenses paid, there will be no funds available for
                                                                         distribution to unsecured creditors.
                                                                     Estimated Number of Creditors
                                                                     ü
                                                                     1-49      50-99         100-199      200-999       1,000-         5,001-           10,001-             25,001-             50,001-           Over
                                                                                                                        5,000          10,000           25,000              50,000              100,000           100,000
                                                                     Estimated Assets

                                                                     $0 to
                                                                                             ü
                                                                             $50,001 to $100,001 to $500,001 to $1,000,001 to $10,000,001 $50,000,001 to $100,000,001 $500,000,001 More than
                                                                     $50,000 $100,000 $500,000      $1 million $10 million    to $50 million $100 million to $500 million to $1 billion $1 billion
                                                                     Estimated Liabilities

                                                                     $0 to
                                                                                                          ü
                                                                             $50,001 to $100,001 to $500,001 to $1,000,001 to $10,000,001 $50,000,001 to $100,000,001 $500,000,001 More than
                                                                     $50,000 $100,000 $500,000      $1 million $10 million    to $50 million $100 million to $500 million to $1 billion $1 billion
                                                                                  Case 15-14390-JNP               Doc 1        Filed 03/13/15 Entered 03/13/15 12:49:30                                      Desc Main
                                                                     B1 (Official Form 1) (04/13)                              Document     Page 2 of 42                                                                    Page 2
                                                                     Voluntary Petition                                                              Name of Debtor(s):
                                                                      (This page must be completed and filed in every case)                          Glancey, William E.

                                                                                           All Prior Bankruptcy Case Filed Within Last 8 Years (If more than two, attach additional sheet)
                                                                      Location                                                                       Case Number:                              Date Filed:
                                                                      Where Filed:None
                                                                      Location                                                                       Case Number:                              Date Filed:
                                                                      Where Filed:
                                                                         Pending Bankruptcy Case Filed by any Spouse, Partner or Affiliate of this Debtor (If more than one, attach additional sheet)
                                                                      Name of Debtor:                                                                Case Number:                              Date Filed:
                                                                      None
                                                                      District:                                                                      Relationship:                             Judge:


                                                                                                     Exhibit A                                                                            Exhibit B
                                                                      (To be completed if debtor is required to file periodic reports (e.g., forms                   (To be completed if debtor is an individual
                                                                      10K and 10Q) with the Securities and Exchange Commission pursuant to                          whose debts are primarily consumer debts.)
                                                                      Section 13 or 15(d) of the Securities Exchange Act of 1934 and is              I, the attorney for the petitioner named in the foregoing petition, declare
                                                                      requesting relief under chapter 11.)                                           that I have informed the petitioner that [he or she] may proceed under
                                                                                                                                                     chapter 7, 11, 12, or 13 of title 11, United States Code, and have
                                                                          Exhibit A is attached and made a part of this petition.                    explained the relief available under each such chapter. I further certify
                                                                                                                                                     that I delivered to the debtor the notice required by 11 U.S.C. § 342(b).
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                                                                                                                                                     X   /s/ Scott M. Zauber, Esq.                                      3/13/15
                                                                                                                                                         Signature of Attorney for Debtor(s)                                 Date

                                                                                                                                             Exhibit C
                                                                      Does the debtor own or have possession of any property that poses or is alleged to pose a threat of imminent and identifiable harm to public health
                                                                      or safety?
                                                                          Yes, and Exhibit C is attached and made a part of this petition.
                                                                      ü No
                                                                                                                                             Exhibit D
                                                                      (To be completed by every individual debtor. If a joint petition is filed, each spouse must complete and attach a separate Exhibit D.)
                                                                          ü Exhibit D completed and signed by the debtor is attached and made a part of this petition.
                                                                      If this is a joint petition:
                                                                                Exhibit D also completed and signed by the joint debtor is attached a made a part of this petition.

                                                                                                                        Information Regarding the Debtor - Venue
                                                                                                                                     (Check any applicable box.)
                                                                          ü Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180 days immediately
                                                                              preceding the date of this petition or for a longer part of such 180 days than in any other District.
                                                                              There is a bankruptcy case concerning debtor’s affiliate, general partner, or partnership pending in this District.
                                                                              Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United States in this District,
                                                                              or has no principal place of business or assets in the United States but is a defendant in an action or proceeding [in a federal or state court]
                                                                              in this District, or the interests of the parties will be served in regard to the relief sought in this District.

                                                                                                    Certification by a Debtor Who Resides as a Tenant of Residential Property
                                                                                                                                (Check all applicable boxes.)
                                                                              Landlord has a judgment against the debtor for possession of debtor’s residence. (If box checked, complete the following.)


                                                                                                                            (Name of landlord that obtained judgment)

                                                                                                                                        (Address of landlord)
                                                                              Debtor claims that under applicable nonbankruptcy law, there are circumstances under which the debtor would be permitted to cure
                                                                              the entire monetary default that gave rise to the judgment for possession, after the judgment for possession was entered, and
                                                                              Debtor has included in this petition the deposit with the court of any rent that would become due during the 30-day period after the
                                                                              filing of the petition.
                                                                              Debtor certifies that he/she has served the Landlord with this certification. (11 U.S.C. § 362(l)).
                                                                                 Case 15-14390-JNP                       Doc 1       Filed 03/13/15 Entered 03/13/15 12:49:30                                              Desc Main
                                                                     B1 (Official Form 1) (04/13)                                    Document     Page 3 of 42                                                                                      Page 3
                                                                     Voluntary Petition                                                                     Name of Debtor(s):
                                                                      (This page must be completed and filed in every case)                                 Glancey, William E.

                                                                                                                                                      Signatures
                                                                                     Signature(s) of Debtor(s) (Individual/Joint)                                               Signature of a Foreign Representative
                                                                      I declare under penalty of perjury that the information provided in this              I declare under penalty of perjury that the information provided in this
                                                                      petition is true and correct.                                                         petition is true and correct, that I am the foreign representative of a debtor
                                                                      [If petitioner is an individual whose debts are primarily consumer debts              in a foreign proceeding, and that I am authorized to file this petition.
                                                                      and has chosen to file under Chapter 7] I am aware that I may proceed                 (Check only one box.)
                                                                      under chapter 7, 11, 12 or 13 of title 11, United States Code, understand
                                                                                                                                                                 I request relief in accordance with chapter 15 of title 11, United
                                                                      the relief available under each such chapter, and choose to proceed under
                                                                                                                                                                 States Code. Certified copies of the documents required by 11 U.S.C.
                                                                      chapter 7.
                                                                                                                                                                 § 1515 are attached.
                                                                      [If no attorney represents me and no bankruptcy petition preparer signs
                                                                      the petition] I have obtained and read the notice required by 11 U.S.C. §                  Pursuant to 11 U.S.C. § 1511, I request relief in accordance with the
                                                                      342(b).                                                                                    chapter of title 11 specified in this petition. A certified copy of the
                                                                      I request relief in accordance with the chapter of title 11, United States                 order granting recognition of the foreign main proceeding is attached.
                                                                      Code, specified in this petition.
                                                                                                                                                            X
                                                                      X   /s/ William E. Glancey                                                                 Signature of Foreign Representative
                                                                          Signature of Debtor                                   William E. Glancey
                                                                      X                                                                                          Printed Name of Foreign Representative
                                                                          Signature of Joint Debtor

                                                                                                                                                                 Date
                                                                          Telephone Number (If not represented by attorney)
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                                                                          March 13, 2015
                                                                          Date

                                                                                                      Signature of Attorney*                                                 Signature of Non-Attorney Petition Preparer
                                                                                                                                                            I declare under penalty of perjury that: 1) I am a bankruptcy petition
                                                                      X   /s/ Scott M. Zauber, Esq.                                                         preparer as defined in 11 U.S.C. § 110; 2) I prepared this document for
                                                                          Signature of Attorney for Debtor(s)                                               compensation and have provided the debtor with a copy of this document
                                                                                                                                                            and the notices and information required under 11 U.S.C. §§ 110(b),
                                                                          Scott M. Zauber, Esq. SZ6086                                                      110(h) and 342(b); and 3) if rules or guidelines have been promulgated
                                                                          SUBRANNI ZAUBER LLC                             ;ëA0ú°i ZAUBER                    pursuant to 11 U.S.C. § 110(h) setting a maximum fee for services
                                                                          1624 Pacific Avenue                                                               chargeable by bankruptcy petition preparers, I have given the debtor
                                                                          Atlantic City, NJ 08401-0000                                                      notice of the maximum amount before preparing any document for filing
                                                                                                                                                            for a debtor or accepting any fee from the debtor, as required in that
                                                                          szauber@subranni.com                                                              section. Official Form 19 is attached.

                                                                                                                                                            Printed Name and title, if any, of Bankruptcy Petition Preparer


                                                                                                                                                            Social Security Number (If the bankruptcy petition preparer is not an individual, state the
                                                                                                                                                            Social Security number of the officer, principal, responsible person or partner of the
                                                                                                                                                            bankruptcy petition preparer.) (Required by 11 U.S.C. § 110.)
                                                                          March 13, 2015
                                                                          Date
                                                                      *In a case in which § 707(b)(4)(D) applies, this signature also constitutes a         Address
                                                                      certification that the attorney has no knowledge after an inquiry that the
                                                                      information in the schedules is incorrect.

                                                                                  Signature of Debtor (Corporation/Partnership)
                                                                      I declare under penalty of perjury that the information provided in this              X
                                                                      petition is true and correct, and that I have been authorized to file this                 Signature
                                                                      petition on behalf of the debtor.
                                                                                                                                                                 Date
                                                                      The debtor requests relief in accordance with the chapter of title 11,                Signature of Bankruptcy Petition Preparer or officer, principal, responsible
                                                                      United States Code, specified in this petition.                                       person, or partner whose social security number is provided above.

                                                                                                                                                            Names and Social-Security numbers of all other individuals who prepared or
                                                                      X                                                                                     assisted in preparing this document unless the bankruptcy petition preparer is
                                                                          Signature of Authorized Individual                                                not an individual:

                                                                                                                                                            If more than one person prepared this document, attach additional sheets
                                                                          Printed Name of Authorized Individual
                                                                                                                                                            conforming to the appropriate official form for each person.
                                                                                                                                                            A bankruptcy petition preparer’s failure to comply with the provisions of title 11
                                                                          Title of Authorized Individual                                                    and the Federal Rules of Bankruptcy Procedure may result in fines or
                                                                                                                                                            imprisonment or both 11 U.S.C. § 110; 18 U.S.C. § 156.
                                                                          Date
                                                                               Case 15-14390-JNP                Doc 1        Filed 03/13/15 Entered 03/13/15 12:49:30                     Desc Main
                                                                     B1D (Official Form 1, Exhibit D) (12/09)                Document     Page 4 of 42
                                                                                                                        United States Bankruptcy Court
                                                                                                                             District of New Jersey

                                                                     IN RE:                                                                                           Case No.
                                                                     Glancey, William E.                                                                              Chapter 13
                                                                                                                 Debtor(s)

                                                                                              EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE
                                                                                                            CREDIT COUNSELING REQUIREMENT
                                                                     Warning: You must be able to check truthfully one of the five statements regarding credit counseling listed below. If you cannot
                                                                     do so, you are not eligible to file a bankruptcy case, and the court can dismiss any case you do file. If that happens, you will lose
                                                                     whatever filing fee you paid, and your creditors will be able to resume collection activities against you. If your case is dismissed
                                                                     and you file another bankruptcy case later, you may be required to pay a second filing fee and you may have to take extra steps
                                                                     to stop creditors’ collection activities.
                                                                     Every individual debtor must file this Exhibit D. If a joint petition is filed, each spouse must complete and file a separate Exhibit D. Check
                                                                     one of the five statements below and attach any documents as directed.

                                                                     ü  1. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit counseling agency approved by
                                                                     the United States trustee or bankruptcy administrator that outlined the opportunities for available credit counseling and assisted me in
                                                                     performing a related budget analysis, and I have a certificate from the agency describing the services provided to me. Attach a copy of the
                                                                     certificate and a copy of any debt repayment plan developed through the agency.
                                                                        2. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit counseling agency approved by
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                                                                     the United States trustee or bankruptcy administrator that outlined the opportunities for available credit counseling and assisted me in
                                                                     performing a related budget analysis, but I do not have a certificate from the agency describing the services provided to me. You must file
                                                                     a copy of a certificate from the agency describing the services provided to you and a copy of any debt repayment plan developed through
                                                                     the agency no later than 14 days after your bankruptcy case is filed.
                                                                        3. I certify that I requested credit counseling services from an approved agency but was unable to obtain the services during the seven
                                                                     days from the time I made my request, and the following exigent circumstances merit a temporary waiver of the credit counseling
                                                                     requirement so I can file my bankruptcy case now. [Summarize exigent circumstances here.]




                                                                     If your certification is satisfactory to the court, you must still obtain the credit counseling briefing within the first 30 days after
                                                                     you file your bankruptcy petition and promptly file a certificate from the agency that provided the counseling, together with a copy
                                                                     of any debt management plan developed through the agency. Failure to fulfill these requirements may result in dismissal of your
                                                                     case. Any extension of the 30-day deadline can be granted only for cause and is limited to a maximum of 15 days. Your case may
                                                                     also be dismissed if the court is not satisfied with your reasons for filing your bankruptcy case without first receiving a credit
                                                                     counseling briefing.
                                                                       4. I am not required to receive a credit counseling briefing because of: [Check the applicable statement.] [Must be accompanied by a
                                                                     motion for determination by the court.]
                                                                            Incapacity. (Defined in 11 U.S.C. § 109(h)(4) as impaired by reason of mental illness or mental deficiency so as to be incapable
                                                                            of realizing and making rational decisions with respect to financial responsibilities.);
                                                                            Disability. (Defined in 11 U.S.C. § 109(h)(4) as physically impaired to the extent of being unable, after reasonable effort, to
                                                                            participate in a credit counseling briefing in person, by telephone, or through the Internet.);
                                                                            Active military duty in a military combat zone.
                                                                        5. The United States trustee or bankruptcy administrator has determined that the credit counseling requirement of 11 U.S.C. § 109(h)
                                                                     does not apply in this district.
                                                                     I certify under penalty of perjury that the information provided above is true and correct.


                                                                     Signature of Debtor: /s/ William E. Glancey
                                                                     Date: March 13, 2015
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                                               Certificate Number: 00555-NJ-CC-025003246


                                                              00555-NJ-CC-025003246




                    CERTIFICATE OF COUNSELING

I CERTIFY that on February 12, 2015, at 12:44 o'clock PM EST, William E
Glancey received from Advisory Credit Management, Inc., an agency approved
pursuant to 11 U.S.C. § 111 to provide credit counseling in the District of New
Jersey, an individual [or group] briefing that complied with the provisions of 11
U.S.C. §§ 109(h) and 111.
A debt repayment plan was not prepared. If a debt repayment plan was prepared, a
copy of the debt repayment plan is attached to this certificate.
This counseling session was conducted by internet.




Date:   February 12, 2015                      By:      /s/Julie E Shattock


                                               Name: Julie E Shattock


                                               Title:   Counselor




* Individuals who wish to file a bankruptcy case under title 11 of the United States Bankruptcy
Code are required to file with the United States Bankruptcy Court a completed certificate of
counseling from the nonprofit budget and credit counseling agency that provided the individual
the counseling services and a copy of the debt repayment plan, if any, developed through the
credit counseling agency. See 11 U.S.C. §§ 109(h) and 521(b).
                                                                             Case
                                                                     B6 Summary       15-14390-JNP
                                                                                (Official                       Doc
                                                                                          Form 6 - Summary) (12/14)            1      Filed 03/13/15 Entered 03/13/15 12:49:30                                     Desc Main
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                                                                                                                                   United States Bankruptcy Court
                                                                                                                                        District of New Jersey

                                                                     IN RE:                                                                                                                Case No.
                                                                     Glancey, William E.                                                                                                   Chapter 13
                                                                                                                          Debtor(s)

                                                                                                                                    SUMMARY OF SCHEDULES
                                                                     Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from Schedules A, B, D, E, F, I, and J in the boxes
                                                                     provided. Add the amounts from Schedules A and B to determine the total amount of the debtor’s assets. Add the amounts of all claims from Schedules D, E, and F to
                                                                     determine the total amount of the debtor’s liabilities. Individual debtors also must complete the “Statistical Summary of Certain Liabilities and Related Data” if they file
                                                                     a case under chapter 7, 11, or 13.

                                                                                                                                   ATTACHED           NO. OF
                                                                      NAME OF SCHEDULE
                                                                                                                                    (YES/NO)          SHEETS                 ASSETS                 LIABILITIES                OTHER


                                                                      A - Real Property                                                Yes                         1 $          470,000.00



                                                                      B - Personal Property                                            Yes                         3 $            20,567.00



                                                                      C - Property Claimed as Exempt                                   Yes                         1
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                                                                      D - Creditors Holding Secured Claims                             Yes                         2                            $         672,286.41


                                                                      E - Creditors Holding Unsecured Priority
                                                                                                                                       Yes                         2                            $                 0.00
                                                                          Claims (Total of Claims on Schedule E)

                                                                      F - Creditors Holding Unsecured
                                                                                                                                       Yes                         3                            $          17,243.00
                                                                          Nonpriority Claims

                                                                      G - Executory Contracts and Unexpired
                                                                                                                                       Yes                         1
                                                                          Leases


                                                                      H - Codebtors                                                    Yes                         1


                                                                      I - Current Income of Individual
                                                                                                                                       Yes                         3                                                     $            6,735.00
                                                                          Debtor(s)

                                                                      J - Current Expenditures of Individual
                                                                                                                                       Yes                         4                                                     $            6,358.00
                                                                          Debtor(s)


                                                                                                                                      TOTAL                      21 $           490,567.00 $              689,529.41
                                                                             Case
                                                                     B 6 Summary       15-14390-JNP
                                                                                 (Official                      Doc
                                                                                           Form 6 - Summary) (12/14)   1    Filed 03/13/15 Entered 03/13/15 12:49:30                Desc Main
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                                                                                                                           United States Bankruptcy Court
                                                                                                                                District of New Jersey

                                                                     IN RE:                                                                                       Case No.
                                                                     Glancey, William E.                                                                          Chapter 13
                                                                                                                Debtor(s)

                                                                             STATISTICAL SUMMARY OF CERTAIN LIABILITIES AND RELATED DATA (28 U.S.C. § 159)
                                                                              If you are an individual debtor whose debts are primarily consumer debts, as defined in § 101(8) of the Bankruptcy Code (11
                                                                     U.S.C. § 101(8)), filing a case under chapter 7, 11 or 13, you must report all information requested below.

                                                                                Check this box if you are an individual debtor whose debts are NOT primarily consumer debts. You are not required to report
                                                                     any information here.

                                                                     This information is for statistical purposes only under 28 U.S.C. § 159.

                                                                     Summarize the following types of liabilities, as reported in the Schedules, and total them.

                                                                      Type of Liability                                                                                        Amount

                                                                      Domestic Support Obligations (from Schedule E)                                                    $           0.00

                                                                      Taxes and Certain Other Debts Owed to Governmental Units (from Schedule E)                        $           0.00
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                                                                      Claims for Death or Personal Injury While Debtor Was Intoxicated (from Schedule E) (whether
                                                                      disputed or undisputed)                                                                           $           0.00

                                                                      Student Loan Obligations (from Schedule F)                                                        $           0.00

                                                                      Domestic Support, Separation Agreement, and Divorce Decree Obligations Not Reported on
                                                                      Schedule E                                                                                        $           0.00

                                                                      Obligations to Pension or Profit-Sharing, and Other Similar Obligations (from Schedule F)         $           0.00

                                                                                                                                                             TOTAL      $           0.00


                                                                      State the following:

                                                                      Average Income (from Schedule I, Line 12)                                                         $       6,735.00

                                                                      Average Expenses (from Schedule J, Line 22)                                                       $       6,358.00

                                                                      Current Monthly Income (from Form 22A-1 Line 11; OR, Form 22B Line 14; OR, Form 22C-1
                                                                      Line 14 )                                                                                         $       3,387.00


                                                                      State the following:

                                                                      1. Total from Schedule D, “UNSECURED PORTION, IF ANY” column                                                         $    202,286.41

                                                                      2. Total from Schedule E, “AMOUNT ENTITLED TO PRIORITY” column.                                   $           0.00

                                                                      3. Total from Schedule E, “AMOUNT NOT ENTITLED TO PRIORITY, IF ANY” column                                           $          0.00

                                                                      4. Total from Schedule F                                                                                             $     17,243.00

                                                                      5. Total of non-priority unsecured debt (sum of 1, 3, and 4)                                                         $    219,529.41
                                                                               Case
                                                                     B6A (Official Form 15-14390-JNP
                                                                                        6A) (12/07)                     Doc 1        Filed 03/13/15 Entered 03/13/15 12:49:30                                                         Desc Main
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                                                                     IN RE Glancey, William E.                                                                                               Case No.
                                                                                                                                Debtor(s)                                                                                                   (If known)

                                                                                                                                SCHEDULE A - REAL PROPERTY
                                                                        Except as directed below, list all real property in which the debtor has any legal, equitable, or future interest, including all property owned as a cotenant, community
                                                                     property, or in which the debtor has a life estate. Include any property in which the debtor holds rights and powers exercisable for the debtor’s own benefit. If the debtor is
                                                                     married, state whether the husband, wife, both, or the marital community own the property by placing an “H,” “W,” “J,” or “C” in the column labeled “Husband, Wife, Joint,
                                                                     or Community.” If the debtor holds no interest in real property, write “None” under “Description and Location of Property.”

                                                                       Do not include interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and Unexpired Leases.

                                                                        If an entity claims to have a lien or hold a secured interest in any property, state the amount of the secured claim. See Schedule D. If no entity claims to hold a secured
                                                                     interest in the property, write “None” in the column labeled “Amount of Secured Claim.”

                                                                       If the debtor is an individual or if a joint petition is filed, state the amount of any exemption claimed in the property only in Schedule C - Property Claimed as Exempt.




                                                                                                                                                                                            HUSBAND, WIFE, JOINT,
                                                                                                                                                                                               OR COMMUNITY
                                                                                                                                                                                                                      CURRENT VALUE OF
                                                                                                                                                                                                                     DEBTOR'S INTEREST IN
                                                                                                                                                                   NATURE OF DEBTOR'S                                 PROPERTY WITHOUT        AMOUNT OF SECURED
                                                                                             DESCRIPTION AND LOCATION OF PROPERTY
                                                                                                                                                                  INTEREST IN PROPERTY                                  DEDUCTING ANY              CLAIM
                                                                                                                                                                                                                      SECURED CLAIM OR
                                                                                                                                                                                                                          EXEMPTION



                                                                     256 Asbury Road, Egg Harbor Twp, NJ 08234                                                 Tenancy by the                                                450,000.00                  651,000.00
                                                                                                                                                               Entirety
                                                                     Timeshare Kings Creek VA townhouse                                                                                                                        20,000.00                  21,286.41
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                                                                                                                                                                                      TOTAL                                  470,000.00
                                                                                                                                                                                                                    (Report also on Summary of Schedules)
                                                                               Case
                                                                     B6B (Official Form 15-14390-JNP
                                                                                        6B) (12/07)                    Doc 1         Filed 03/13/15 Entered 03/13/15 12:49:30                                        Desc Main
                                                                                                                                     Document     Page 9 of 42
                                                                     IN RE Glancey, William E.                                                                                              Case No.
                                                                                                                                Debtor(s)                                                                                             (If known)

                                                                                                                           SCHEDULE B - PERSONAL PROPERTY
                                                                        Except as directed below, list all personal property of the debtor of whatever kind. If the debtor has no property in one or more of the categories, place an “x” in the
                                                                     appropriate position in the column labeled “None.” If additional space is needed in any category, attach a separate sheet properly identified with the case name, case number,
                                                                     and the number of the category. If the debtor is married, state whether the husband, wife, both, or the marital community own the property by placing an “H,” “W,” “J,” or
                                                                     “C” in the column labeled “Husband, Wife, Joint, or Community.” If the debtor is an individual or a joint petition is filed, state the amount of any exemptions claimed only
                                                                     in Schedule C - Property Claimed as Exempt.

                                                                       Do not list interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and Unexpired Leases.

                                                                       If the property is being held for the debtor by someone else, state that person’s name and address under “Description and Location of Property.” If the property is being
                                                                     held for a minor child, simply state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do
                                                                     not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).




                                                                                                                                                                                                                     HUSBAND, WIFE, JOINT,
                                                                                                                                                                                                                        OR COMMUNITY
                                                                                                                                                                                                                                              CURRENT VALUE OF
                                                                                                                       N                                                                                                                     DEBTOR'S INTEREST IN
                                                                                                                       O                                                                                                                      PROPERTY WITHOUT
                                                                                    TYPE OF PROPERTY                                               DESCRIPTION AND LOCATION OF PROPERTY
                                                                                                                       N                                                                                                                        DEDUCTING ANY
                                                                                                                       E                                                                                                                      SECURED CLAIM OR
                                                                                                                                                                                                                                                  EXEMPTION




                                                                        1. Cash on hand.                                   Cash on hand                                                                                                                   100.00
                                                                        2. Checking, savings or other financial            OC Home checking 0213 and savings                                                                                            1,600.00
                                                                           accounts, certificates of deposit or            Wells Fargo checking 2428                                                                                                    8,250.00
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                                                                           shares in banks, savings and loan,
                                                                           thrift, building and loan, and
                                                                           homestead associations, or credit
                                                                           unions, brokerage houses, or
                                                                           cooperatives.
                                                                        3. Security deposits with public utilities,    X
                                                                           telephone companies, landlords, and
                                                                           others.
                                                                        4. Household goods and furnishings,                Household goods and furnishings                                                                                              1,500.00
                                                                           include audio, video, and computer
                                                                           equipment.
                                                                        5. Books, pictures and other art objects,      X
                                                                           antiques, stamp, coin, record, tape,
                                                                           compact disc, and other collections or
                                                                           collectibles.
                                                                        6. Wearing apparel.                                Wearing apparel                                                                                                                100.00
                                                                        7. Furs and jewelry.                               Jewelry                                                                                                                        100.00
                                                                        8. Firearms and sports, photographic,          X
                                                                           and other hobby equipment.
                                                                        9. Interest in insurance policies. Name        X
                                                                           insurance company of each policy and
                                                                           itemize surrender or refund value of
                                                                           each.
                                                                      10. Annuities. Itemize and name each             X
                                                                          issue.
                                                                      11. Interests in an education IRA as             X
                                                                          defined in 26 U.S.C. § 530(b)(1) or
                                                                          under a qualified State tuition plan as
                                                                          defined in 26 U.S.C. § 529(b)(1).
                                                                          Give particulars. (File separately the
                                                                          record(s) of any such interest(s). 11
                                                                          U.S.C. § 521(c).)
                                                                      12. Interests in IRA, ERISA, Keogh, or               ERISA qualified pension plan, not part of the Debtor Estate                                                                       1.00
                                                                          other pension or profit sharing plans.           Wells Fargo IRA (rollover from wife's pension death benefit)                                                                      1.00
                                                                          Give particulars.
                                                                      13. Stock and interests in incorporated          X
                                                                          and unincorporated businesses.
                                                                          Itemize.
                                                                      14. Interests in partnerships or joint           X
                                                                          ventures. Itemize.
                                                                               Case
                                                                     B6B (Official Form 15-14390-JNP
                                                                                        6B) (12/07) - Cont.          Doc 1       Filed 03/13/15 Entered 03/13/15 12:49:30                    Desc Main
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                                                                     IN RE Glancey, William E.                                                                                    Case No.
                                                                                                                             Debtor(s)                                                                        (If known)

                                                                                                                         SCHEDULE B - PERSONAL PROPERTY
                                                                                                                                (Continuation Sheet)




                                                                                                                                                                                             HUSBAND, WIFE, JOINT,
                                                                                                                                                                                                OR COMMUNITY
                                                                                                                                                                                                                      CURRENT VALUE OF
                                                                                                                     N                                                                                               DEBTOR'S INTEREST IN
                                                                                                                     O                                                                                                PROPERTY WITHOUT
                                                                                   TYPE OF PROPERTY                                        DESCRIPTION AND LOCATION OF PROPERTY
                                                                                                                     N                                                                                                  DEDUCTING ANY
                                                                                                                     E                                                                                                SECURED CLAIM OR
                                                                                                                                                                                                                          EXEMPTION




                                                                      15. Government and corporate bonds and         X
                                                                          other negotiable and non-negotiable
                                                                          instruments.
                                                                      16. Accounts receivable.                       X
                                                                      17. Alimony, maintenance, support, and         X
                                                                          property settlements in which the
                                                                          debtor is or may be entitled. Give
                                                                          particulars.
                                                                      18. Other liquidated debts owed to debtor      X
                                                                          including tax refunds. Give
                                                                          particulars.
                                                                      19. Equitable or future interest, life         X
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                                                                          estates, and rights or powers
                                                                          exercisable for the benefit of the
                                                                          debtor other than those listed in
                                                                          Schedule A - Real Property.
                                                                      20. Contingent and noncontingent               X
                                                                          interests in estate of a decedent, death
                                                                          benefit plan, life insurance policy, or
                                                                          trust.
                                                                      21. Other contingent and unliquidated          X
                                                                          claims of every nature, including tax
                                                                          refunds, counterclaims of the debtor,
                                                                          and rights to setoff claims. Give
                                                                          estimated value of each.
                                                                      22. Patents, copyrights, and other             X
                                                                          intellectual property. Give particulars.
                                                                      23. Licenses, franchises, and other            X
                                                                          general intangibles. Give particulars.
                                                                      24. Customer lists or other compilations       X
                                                                          containing personally identifiable
                                                                          information (as defined in 11 U.S.C. §
                                                                          101(41A)) provided to the debtor by
                                                                          individuals in connection with
                                                                          obtaining a product or service from
                                                                          the debtor primarily for personal,
                                                                          family, or household purposes.
                                                                      25. Automobiles, trucks, trailers, and             1998 Chevrolet 1500 - not running- per NADA trade in value,                                            1,000.00
                                                                          other vehicles and accessories.                liquidation value
                                                                                                                         2000 Ford Explorer per NADA, liquidation value                                                         3,015.00
                                                                                                                         2003 Ford Econoline 350 Van, per NADA, liquidation value                                               4,900.00
                                                                      26. Boats, motors, and accessories.            X
                                                                      27. Aircraft and accessories.                  X
                                                                      28. Office equipment, furnishings, and         X
                                                                          supplies.
                                                                      29. Machinery, fixtures, equipment, and        X
                                                                          supplies used in business.
                                                                      30. Inventory.                                 X
                                                                      31. Animals.                                   X
                                                                      32. Crops - growing or harvested. Give         X
                                                                          particulars.
                                                                               Case
                                                                     B6B (Official Form 15-14390-JNP
                                                                                        6B) (12/07) - Cont.     Doc 1     Filed 03/13/15 Entered 03/13/15 12:49:30                           Desc Main
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                                                                     IN RE Glancey, William E.                                                                           Case No.
                                                                                                                      Debtor(s)                                                                               (If known)

                                                                                                                    SCHEDULE B - PERSONAL PROPERTY
                                                                                                                           (Continuation Sheet)




                                                                                                                                                                                             HUSBAND, WIFE, JOINT,
                                                                                                                                                                                                OR COMMUNITY
                                                                                                                                                                                                                      CURRENT VALUE OF
                                                                                                                N                                                                                                    DEBTOR'S INTEREST IN
                                                                                                                O                                                                                                     PROPERTY WITHOUT
                                                                                  TYPE OF PROPERTY                                DESCRIPTION AND LOCATION OF PROPERTY
                                                                                                                N                                                                                                       DEDUCTING ANY
                                                                                                                E                                                                                                     SECURED CLAIM OR
                                                                                                                                                                                                                          EXEMPTION




                                                                      33. Farming equipment and implements.     X
                                                                      34. Farm supplies, chemicals, and feed.   X
                                                                      35. Other personal property of any kind   X
                                                                          not already listed. Itemize.
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                                                                                                                                                                                        TOTAL                                 20,567.00
                                                                                                                                                                   (Include amounts from any continuation sheets attached.
                                                                             0 continuation sheets attached                                                                   Report total also on Summary of Schedules.)
                                                                               Case
                                                                     B6C (Official Form 15-14390-JNP
                                                                                        6C) (04/13)                    Doc 1        Filed 03/13/15 Entered 03/13/15 12:49:30                                 Desc Main
                                                                                                                                   Document      Page 12 of 42
                                                                     IN RE Glancey, William E.                                                                                        Case No.
                                                                                                                               Debtor(s)                                                                          (If known)

                                                                                                                 SCHEDULE C - PROPERTY CLAIMED AS EXEMPT
                                                                     Debtor elects the exemptions to which debtor is entitled under:                       Check if debtor claims a homestead exemption that exceeds $155,675. *
                                                                     (Check one box)

                                                                        ü11 U.S.C. § 522(b)(2)
                                                                         11 U.S.C. § 522(b)(3)

                                                                                                                                                                                                                      CURRENT VALUE
                                                                                                                                                                                            VALUE OF CLAIMED           OF PROPERTY
                                                                                       DESCRIPTION OF PROPERTY                             SPECIFY LAW PROVIDING EACH EXEMPTION
                                                                                                                                                                                               EXEMPTION            WITHOUT DEDUCTING
                                                                                                                                                                                                                       EXEMPTIONS

                                                                     SCHEDULE B - PERSONAL PROPERTY
                                                                     Cash on hand                                                 11 USC § 522(d)(5)                                                     100.00                    100.00
                                                                     OC Home checking 0213 and savings                            11 USC § 522(d)(5)                                                   1,600.00                1,600.00
                                                                     Household goods and furnishings                              11 USC § 522(d)(3)                                                   1,500.00                1,500.00
                                                                     Wearing apparel                                              11 USC § 522(d)(3)                                                     100.00                    100.00
                                                                     Jewelry                                                      11 USC § 522(d)(4)                                                     100.00                    100.00
                                                                     ERISA qualified pension plan, not part of the                11 USC § 522(d)(12)                                           100% of FMV                          1.00
                                                                     Debtor Estate
                                                                     Wells Fargo IRA (rollover from wife's pension                11 USC § 522(d)(12)                                           100% of FMV                          1.00
                                                                     death benefit)                                               11 USC § 522(d)(5)                                            100% of FMV
                                                                     1998 Chevrolet 1500 - not running- per NADA                  11 USC § 522(d)(5)                                                   1,000.00                1,000.00
                                                                     trade in value, liquidation value
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                                                                     2000 Ford Explorer per NADA, liquidation                     11 USC § 522(d)(5)                                                   3,015.00                3,015.00
                                                                     value
                                                                     2003 Ford Econoline 350 Van, per NADA,                       11 USC § 522(d)(2)                                                   3,675.00                4,900.00
                                                                     liquidation value                                            11 USC § 522(d)(5)                                                   1,225.00




                                                                     * Amount subject to adjustment on 4/1/16 and every three years thereafter with respect to cases commenced on or after the date of adjustment.
                                                                               Case
                                                                     B6D (Official Form 15-14390-JNP
                                                                                        6D) (12/07)                     Doc 1                      Filed 03/13/15 Entered 03/13/15 12:49:30                                                                             Desc Main
                                                                                                                                                  Document      Page 13 of 42
                                                                     IN RE Glancey, William E.                                                                                                                   Case No.
                                                                                                                                  Debtor(s)                                                                                                                                     (If known)

                                                                                                             SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
                                                                        State the name, mailing address, including zip code, and last four digits of any account number of all entities holding claims secured by property of the debtor as of the
                                                                     date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if
                                                                     the debtor chooses to do so. List creditors holding all types of secured interests such as judgment liens, garnishments, statutory liens, mortgages, deeds of trust, and other
                                                                     security interests.
                                                                       List creditors in alphabetical order to the extent practicable. If a minor child is the creditor, state the child's initials and the name and address of the child's parent or
                                                                     guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m). If all secured creditors
                                                                     will not fit on this page, use the continuation sheet provided.
                                                                       If any entity other than a spouse in a joint case may be jointly liable on a claim, place an “X” in the column labeled “Codebtor,” include the entity on the appropriate
                                                                     schedule of creditors, and complete Schedule H – Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be liable
                                                                     on each claim by placing an “H,” “W,” “J,” or “C” in the column labeled “Husband, Wife, Joint, or Community.”
                                                                        If the claim is contingent, place an “X” in the column labeled “Contingent.” If the claim is unliquidated, place an “X” in the column labeled “Unliquidated.” If the claim
                                                                     is disputed, place an “X” in the column labeled “Disputed.” (You may need to place an “X” in more than one of these three columns.)
                                                                        Total the columns labeled “Amount of Claim Without Deducting Value of Collateral” and “Unsecured Portion, if Any” in the boxes labeled “Total(s)” on the last sheet
                                                                     of the completed schedule. Report the total from the column labeled “Amount of Claim Without Deducting Value of Collateral” also on the Summary of Schedules and,
                                                                     if the debtor is an individual with primarily consumer debts, report the total from the column labeled “Unsecured Portion, if Any” on the Statistical Summary of Certain
                                                                     Liabilities and Related Data.

                                                                         Check this box if debtor has no creditors holding secured claims to report on this Schedule D.
                                                                                                                                           HUSBAND, WIFE, JOINT,
                                                                                                                                              OR COMMUNITY




                                                                                                                                                                                                                                    UNLIQUIDATED
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                                                                                                                                                                                                                       CONTINGENT
                                                                                                                                                                                                                                                                 AMOUNT OF
                                                                                                                                CODEBTOR




                                                                                                                                                                                                                                                   DISPUTED
                                                                              CREDITOR'S NAME AND MAILING ADDRESS                                                              DATE CLAIM WAS INCURRED,                                                        CLAIM WITHOUT
                                                                                                                                                                                                                                                                                         UNSECURED
                                                                            INCLUDING ZIP CODE AND ACCOUNT NUMBER.                                                    NATURE OF LIEN, AND DESCRIPTION AND VALUE OF                                               DEDUCTING
                                                                                                                                                                                                                                                                                       PORTION, IF ANY
                                                                                       (See Instructions Above.)                                                                PROPERTY SUBJECT TO LIEN                                                          VALUE OF
                                                                                                                                                                                                                                                                COLLATERAL




                                                                     ACCOUNT NO. CA369894D                                                       J Timeshare                                                                                                         21,286.41                  1,286.41
                                                                     Advanced Financial Company
                                                                     POB 4068
                                                                     Carlsbad, CA 92018

                                                                                                                                                                   VALUE $ 20,000.00

                                                                     ACCOUNT NO. 1008796029                                                      J First Mortgage                                                                                                   651,000.00               201,000.00
                                                                     IndyMac Mortgage Services
                                                                     POB 4045
                                                                     Kalamazoo, MI 49009

                                                                                                                                                                   VALUE $ 450,000.00

                                                                     ACCOUNT NO. F-047179-14                                                                       represents creditor                                                                            Notice Only
                                                                     McCabe, Weisberg & Conway
                                                                     216 Haddon Ave, Ste 303
                                                                     Westmont, NJ 08108

                                                                                                                                                                   VALUE $

                                                                     ACCOUNT NO.                                                                                   F-27676-08                                                                                     Notice Only
                                                                     Onewest Bank
                                                                     Home Loan Servicing
                                                                     6900 Beatrice Dr.
                                                                     Kalamazoo, MI 49009
                                                                                                                                                                   VALUE $ 450,000.00
                                                                                                                                                                                                                        Subtotal
                                                                            1 continuation sheets attached                                                                                                  (Total of this page) $                                  672,286.41 $             202,286.41
                                                                                                                                                                                                                          Total
                                                                                                                                                                                                        (Use only on last page) $                                                     $
                                                                                                                                                                                                                                                              (Report also on         (If applicable, report
                                                                                                                                                                                                                                                              Summary of              also on Statistical
                                                                                                                                                                                                                                                              Schedules.)             Summary of Certain
                                                                                                                                                                                                                                                                                      Liabilities and Related
                                                                                                                                                                                                                                                                                      Data.)
                                                                               Case
                                                                     B6D (Official Form 15-14390-JNP
                                                                                        6D) (12/07) - Cont.           Doc 1                     Filed 03/13/15 Entered 03/13/15 12:49:30                                                                            Desc Main
                                                                                                                                               Document      Page 14 of 42
                                                                     IN RE Glancey, William E.                                                                                                               Case No.
                                                                                                                               Debtor(s)                                                                                                                                    (If known)

                                                                                                         SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
                                                                                                                         (Continuation Sheet)




                                                                                                                                        HUSBAND, WIFE, JOINT,
                                                                                                                                           OR COMMUNITY




                                                                                                                                                                                                                                UNLIQUIDATED
                                                                                                                                                                                                                   CONTINGENT
                                                                                                                                                                                                                                                             AMOUNT OF




                                                                                                                             CODEBTOR




                                                                                                                                                                                                                                               DISPUTED
                                                                              CREDITOR'S NAME AND MAILING ADDRESS                                                          DATE CLAIM WAS INCURRED,                                                        CLAIM WITHOUT
                                                                                                                                                                                                                                                                                     UNSECURED
                                                                            INCLUDING ZIP CODE AND ACCOUNT NUMBER.                                                NATURE OF LIEN, AND DESCRIPTION AND VALUE OF                                               DEDUCTING
                                                                                                                                                                                                                                                                                   PORTION, IF ANY
                                                                                       (See Instructions Above.)                                                            PROPERTY SUBJECT TO LIEN                                                          VALUE OF
                                                                                                                                                                                                                                                            COLLATERAL




                                                                     ACCOUNT NO. F-27676-08                                                                                                                                                                   Notice Only
                                                                     Zucker, Goldberg & Ackerman, LLC
                                                                     POB 1024
                                                                     Mountainside, NJ 07092

                                                                                                                                                                VALUE $

                                                                     ACCOUNT NO.
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                                                                                                                                                                VALUE $

                                                                     ACCOUNT NO.




                                                                                                                                                                VALUE $

                                                                     ACCOUNT NO.




                                                                                                                                                                VALUE $

                                                                     ACCOUNT NO.




                                                                                                                                                                VALUE $

                                                                     ACCOUNT NO.




                                                                                                                                                                VALUE $
                                                                     Sheet no.       1 of        1 continuation sheets attached to                                                                                  Subtotal
                                                                     Schedule of Creditors Holding Secured Claims                                                                                       (Total of this page) $                                                    $
                                                                                                                                                                                                                      Total
                                                                                                                                                                                                    (Use only on last page) $                                   672,286.41 $             202,286.41
                                                                                                                                                                                                                                                          (Report also on         (If applicable, report
                                                                                                                                                                                                                                                          Summary of              also on Statistical
                                                                                                                                                                                                                                                          Schedules.)             Summary of Certain
                                                                                                                                                                                                                                                                                  Liabilities and Related
                                                                                                                                                                                                                                                                                  Data.)
                                                                               Case
                                                                     B6E (Official Form 15-14390-JNP
                                                                                        6E) (04/13)                      Doc 1         Filed 03/13/15 Entered 03/13/15 12:49:30                                          Desc Main
                                                                                                                                      Document      Page 15 of 42
                                                                     IN RE Glancey, William E.                                                                                                 Case No.
                                                                                                                                 Debtor(s)                                                                                   (If known)

                                                                                                SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
                                                                        A complete list of claims entitled to priority, listed separately by type of priority, is to be set forth on the sheets provided. Only holders of unsecured claims entitled to
                                                                     priority should be listed in this schedule. In the boxes provided on the attached sheets, state the name, mailing address, including zip code, and last four digits of the account
                                                                     number, if any, of all entities holding priority claims against the debtor or the property of the debtor, as of the date of the filing of the petition. Use a separate continuation
                                                                     sheet for each type of priority and label each with the type of priority.

                                                                        The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if the debtor chooses to do so.
                                                                     If a minor child is a creditor, state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do
                                                                     not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).

                                                                       If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the appropriate
                                                                     schedule of creditors, and complete Schedule H-Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be liable
                                                                     on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the claim is contingent, place an "X" in the column labeled
                                                                     "Contingent." If the claim is unliquidated, place an "X" in the column labeled "Unliquidated." If the claim is disputed, place an "X" in the column labeled "Disputed." (You
                                                                     may need to place an "X" in more than one of these three columns.)

                                                                       Report the total of claims listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all claims listed on this Schedule E in the box labeled “Total”
                                                                     on the last sheet of the completed schedule. Report this total also on the Summary of Schedules.

                                                                       Report the total of amounts entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all amounts entitled to priority listed
                                                                     on this Schedule E in the box labeled “Totals” on the last sheet of the completed schedule. Individual debtors with primarily consumer debts report this total also on the
                                                                     Statistical Summary of Certain Liabilities and Related Data.

                                                                        Report the total of amounts not entitled to priority listed on each sheet in the box labeled “Subtotals” on each sheet. Report the total of all amounts not entitled to priority
                                                                     listed on this Schedule E in the box labeled “Totals” on the last sheet of the completed schedule. Individual debtors with primarily consumer debts report this total also on
                                                                     the Statistical Summary of Certain Liabilities and Related Data.
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                                                                         Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.

                                                                     TYPES OF PRIORITY CLAIMS (Check the appropriate box(es) below if claims in that category are listed on the attached sheets)
                                                                          Domestic Support Obligations
                                                                          Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian, or
                                                                          responsible relative of such a child, or a governmental unit to whom such a domestic support claim has been assigned to the extent provided in 11
                                                                          U.S.C. § 507(a)(1).
                                                                          Extensions of credit in an involuntary case
                                                                          Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of the
                                                                          appointment of a trustee or the order for relief. 11 U.S.C. § 507(a)(3).
                                                                          Wages, salaries, and commissions
                                                                          Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to qualifying
                                                                          independent sales representatives up to $12,475* per person earned within 180 days immediately preceding the filing of the original petition, or the
                                                                          cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).
                                                                          Contributions to employee benefit plans
                                                                          Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the
                                                                          cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(5).
                                                                          Certain farmers and fishermen
                                                                          Claims of certain farmers and fishermen, up to $6,150* per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § 507(a)(6).
                                                                          Deposits by individuals
                                                                          Claims of individuals up to $2,775* for deposits for the purchase, lease, or rental of property or services for personal, family, or household use, that
                                                                          were not delivered or provided. 11 U.S.C. § 507(a)(7).

                                                                     ü Taxes  and Certain Other Debts Owed to Governmental Units
                                                                       Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)(8).
                                                                          Commitments to Maintain the Capital of an Insured Depository Institution
                                                                          Claims based on commitments to the FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of Governors
                                                                          of the Federal Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11 U.S.C. § 507 (a)(9).
                                                                          Claims for Death or Personal Injury While Debtor Was Intoxicated
                                                                          Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using alcohol,
                                                                          a drug, or another substance. 11 U.S.C. § 507(a)(10).

                                                                          * Amounts are subject to adjustment on 4/01/16, and every three years thereafter with respect to cases commenced on or after the date of adjustment.

                                                                            1 continuation sheets attached
                                                                               Case
                                                                     B6E (Official Form 15-14390-JNP
                                                                                        6E) (04/13) - Cont.           Doc 1                                 Filed 03/13/15 Entered 03/13/15 12:49:30                                                                              Desc Main
                                                                                                                                                           Document      Page 16 of 42
                                                                     IN RE Glancey, William E.                                                                                                                                                               Case No.
                                                                                                                                                    Debtor(s)                                                                                                                        (If known)

                                                                                              SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
                                                                                                                   (Continuation Sheet)

                                                                                                            Taxes and Other Certain Debts Owed to Governmental Units
                                                                                                                                                             (Type of Priority for Claims Listed on This Sheet)




                                                                                                                                   HUSBAND, WIFE, JOINT,
                                                                                                                                      OR COMMUNITY




                                                                                                                                                                                                                               UNLIQUIDATED
                                                                                                                                                                                                                                                                                                  AMOUNT




                                                                                                                                                                                                                  CONTINGENT
                                                                                                                        CODEBTOR




                                                                                                                                                                                                                                              DISPUTED
                                                                                                                                                                                                                                                                               AMOUNT                NOT
                                                                           CREDITOR'S NAME, MAILING ADDRESS                                                                                                                                                   AMOUNT
                                                                                                                                                               DATE CLAIM WAS INCURRED                                                                                         ENTITLED           ENTITLED
                                                                        INCLUDING ZIP CODE AND ACCOUNT NUMBER.                                                                                                                                                   OF
                                                                                                                                                             AND CONSIDERATION FOR CLAIM                                                                                          TO                  TO
                                                                                   (See Instructions above.)                                                                                                                                                   CLAIM
                                                                                                                                                                                                                                                                               PRIORITY           PRIORITY,
                                                                                                                                                                                                                                                                                                   IF ANY




                                                                     ACCOUNT NO.
                                                                     IRS
                                                                     POB 7346
                                                                     Philadelphia, PA 19101-7346

                                                                                                                                                                                                                                                             Notice Only
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                                                                     ACCOUNT NO.
                                                                     NJ Division Of Taxation
                                                                     POB 245
                                                                     Trenton, NJ 08695

                                                                                                                                                                                                                                                             Notice Only
                                                                     ACCOUNT NO.




                                                                     ACCOUNT NO.




                                                                     ACCOUNT NO.




                                                                     ACCOUNT NO.




                                                                     Sheet no.       1 of        1 continuation sheets attached to                                                                         Subtotal
                                                                     Schedule of Creditors Holding Unsecured Priority Claims                                                                  (Totals of this page)                                      $                 $               $
                                                                                                                                                                           Total
                                                                                    (Use only on last page of the completed Schedule E. Report also on the Summary of Schedules.) $
                                                                                                                                                                                 Total
                                                                                                                   (Use only on last page of the completed Schedule E. If applicable,
                                                                                                      report also on the Statistical Summary of Certain Liabilities and Related Data.)                                                                                     $               $
                                                                               Case
                                                                     B6F (Official      15-14390-JNP
                                                                                   Form 6F) (12/07)                     Doc 1         Filed 03/13/15 Entered 03/13/15 12:49:30                                                           Desc Main
                                                                                                                                     Document      Page 17 of 42
                                                                     IN RE Glancey, William E.                                                                                                                    Case No.
                                                                                                                                 Debtor(s)                                                                                                             (If known)

                                                                                           SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                        State the name, mailing address, including zip code, and last four digits of any account number, of all entities holding unsecured claims without priority against the debtor
                                                                     or the property of the debtor, as of the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the trustee and
                                                                     the creditor and may be provided if the debtor chooses to do so. If a minor child is a creditor, state the child's initials and the name and address of the child's parent or
                                                                     guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m). Do not include claims
                                                                     listed in Schedules D and E. If all creditors will not fit on this page, use the continuation sheet provided.

                                                                       If any entity other than a spouse in a joint case may be jointly liable on a claim, place an “X” in the column labeled “Codebtor,” include the entity on the appropriate
                                                                     schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be liable
                                                                     on each claim by placing an “H,” “W,” “J,” or “C” in the column labeled “Husband, Wife, Joint, or Community.”

                                                                        If the claim is contingent, place an “X” in the column labeled “Contingent.” If the claim is unliquidated, place an “X” in the column labeled “Unliquidated.” If the claim
                                                                     is disputed, place an “X” in the column labeled “Disputed.” (You may need to place an “X” in more than one of these three columns.)

                                                                       Report the total of all claims listed on this schedule in the box labeled “Total” on the last sheet of the completed schedule. Report this total also on the Summary of
                                                                     Schedules and, if the debtor is an individual with primarily consumer debts, report this total also on the Statistical Summary of Certain Liabilities and Related Data.

                                                                         Check this box if debtor has no creditors holding unsecured nonpriority claims to report on this Schedule F.
                                                                                                                                                  HUSBAND, WIFE, JOINT,
                                                                                                                                                     OR COMMUNITY




                                                                                                                                                                                                                                                       UNLIQUIDATED
                                                                                                                                                                                                                                          CONTINGENT
                                                                                                                                       CODEBTOR




                                                                                                                                                                                                                                                                      DISPUTED
                                                                                   CREDITOR'S NAME, MAILING ADDRESS                                                                     DATE CLAIM WAS INCURRED AND                                                               AMOUNT
                                                                               INCLUDING ZIP CODE, AND ACCOUNT NUMBER.                                                                CONSIDERATION FOR CLAIM. IF CLAIM IS                                                          OF
                                                                                          (See Instructions Above.)                                                                       SUBJECT TO SETOFF, SO STATE                                                              CLAIM
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                                                                     ACCOUNT NO. 532904194936xxxx                                                       J Credit card debt
                                                                     Bank of America
                                                                     POB 982235
                                                                     El Paso, TX 79998

                                                                                                                                                                                                                                                                                 Notice Only
                                                                     ACCOUNT NO.
                                                                     Cancer Treatment Centers Of America
                                                                     1331 East Wyoming Ave
                                                                     Phila, PA 19124

                                                                                                                                                                                                                                                                                 Notice Only
                                                                     ACCOUNT NO.                                                                                          Rebecca Glancey (deceased)
                                                                     Capital Collection Service
                                                                     POB 150
                                                                     West Berlin, NJ 08091-0150

                                                                                                                                                                                                                                                                                 Notice Only
                                                                     ACCOUNT NO. 517805795979xxxx                                                       J Credit card debt
                                                                     Capital One
                                                                     POB 30281
                                                                     Salt Lake City, UT 84130

                                                                                                                                                                                                                                                                                 Notice Only
                                                                                                                                                                                                                                           Subtotal
                                                                            2 continuation sheets attached                                                                                                                     (Total of this page) $
                                                                                                                                                                                                                                              Total
                                                                                                                                                                                 (Use only on last page of the completed Schedule F. Report also on
                                                                                                                                                                                     the Summary of Schedules and, if applicable, on the Statistical
                                                                                                                                                                                                  Summary of Certain Liabilities and Related Data.) $
                                                                               Case
                                                                     B6F (Official      15-14390-JNP
                                                                                   Form 6F) (12/07) - Cont.           Doc 1           Filed 03/13/15 Entered 03/13/15 12:49:30                                                  Desc Main
                                                                                                                                     Document      Page 18 of 42
                                                                     IN RE Glancey, William E.                                                                                                           Case No.
                                                                                                                              Debtor(s)                                                                                                       (If known)

                                                                                          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                 (Continuation Sheet)




                                                                                                                                                HUSBAND, WIFE, JOINT,
                                                                                                                                                   OR COMMUNITY




                                                                                                                                                                                                                                              UNLIQUIDATED
                                                                                                                                                                                                                                 CONTINGENT
                                                                                                                                     CODEBTOR




                                                                                                                                                                                                                                                             DISPUTED
                                                                                  CREDITOR'S NAME, MAILING ADDRESS                                                             DATE CLAIM WAS INCURRED AND                                                               AMOUNT
                                                                              INCLUDING ZIP CODE, AND ACCOUNT NUMBER.                                                        CONSIDERATION FOR CLAIM. IF CLAIM IS                                                          OF
                                                                                         (See Instructions Above.)                                                               SUBJECT TO SETOFF, SO STATE                                                              CLAIM




                                                                     ACCOUNT NO. 601100125002xxxx                                                     J Credit card debt
                                                                     Discover Financial Services
                                                                     POB 15316
                                                                     Wilmington, DE 19850-5316

                                                                                                                                                                                                                                                                        Notice Only
                                                                     ACCOUNT NO.
                                                                     Eastern Regional Medical Center
                                                                     1331 East Wyoming Ave
                                                                     Phila, PA 19124
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                                                                                                                                                                                                                                                                        Notice Only
                                                                     ACCOUNT NO.
                                                                     First Premier Bank
                                                                     601 S. Minnesota Ave
                                                                     Sioux Falls, SD 57104

                                                                                                                                                                                                                                                                        Notice Only
                                                                     ACCOUNT NO.
                                                                     First USA Bank
                                                                     800 Brooksedge Blvd.
                                                                     Westerville, OH 43081

                                                                                                                                                                                                                                                                        Notice Only
                                                                     ACCOUNT NO. 512025500888xxxx                                                     J Credit card debt
                                                                     HSBC Bank
                                                                     POB 9
                                                                     Buffalo, NY 14240

                                                                                                                                                                                                                                                                        Notice Only
                                                                     ACCOUNT NO.
                                                                     HSBC-Boscovs
                                                                     POB 4274
                                                                     Reading, PA 19606

                                                                                                                                                                                                                                                                        Notice Only
                                                                     ACCOUNT NO. DC-3399-09                                                           J Judgment
                                                                     New Century Financial Services
                                                                     110 S. Jefferson Rd 104
                                                                     Whippany, NJ 07981

                                                                                                                                                                                                                                                                        Notice Only
                                                                     Sheet no.       1 of        2 continuation sheets attached to                                                                                                Subtotal
                                                                     Schedule of Creditors Holding Unsecured Nonpriority Claims                                                                                       (Total of this page) $
                                                                                                                                                                                                                                     Total
                                                                                                                                                                        (Use only on last page of the completed Schedule F. Report also on
                                                                                                                                                                            the Summary of Schedules, and if applicable, on the Statistical
                                                                                                                                                                                         Summary of Certain Liabilities and Related Data.) $
                                                                               Case
                                                                     B6F (Official      15-14390-JNP
                                                                                   Form 6F) (12/07) - Cont.           Doc 1           Filed 03/13/15 Entered 03/13/15 12:49:30                                                         Desc Main
                                                                                                                                     Document      Page 19 of 42
                                                                     IN RE Glancey, William E.                                                                                                                  Case No.
                                                                                                                              Debtor(s)                                                                                                              (If known)

                                                                                          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                 (Continuation Sheet)




                                                                                                                                                HUSBAND, WIFE, JOINT,
                                                                                                                                                   OR COMMUNITY




                                                                                                                                                                                                                                                     UNLIQUIDATED
                                                                                                                                                                                                                                        CONTINGENT
                                                                                                                                     CODEBTOR




                                                                                                                                                                                                                                                                    DISPUTED
                                                                                  CREDITOR'S NAME, MAILING ADDRESS                                                                    DATE CLAIM WAS INCURRED AND                                                               AMOUNT
                                                                              INCLUDING ZIP CODE, AND ACCOUNT NUMBER.                                                               CONSIDERATION FOR CLAIM. IF CLAIM IS                                                          OF
                                                                                         (See Instructions Above.)                                                                      SUBJECT TO SETOFF, SO STATE                                                              CLAIM




                                                                     ACCOUNT NO. DJ-228188-13                                                         J State Tax Lien
                                                                     NJ Division Of Taxation
                                                                     POB 245
                                                                     Trenton, NJ 08695

                                                                                                                                                                                                                                                                               Notice Only
                                                                     ACCOUNT NO. 512025500888xxxx                                                     J Other
                                                                     Portfolio Recovery Assoc.
                                                                     120 Corporate Blvd, Ste 100
                                                                     Norfolk, VA 23502-4962
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                                                                                                                                                                                                                                                                               Notice Only
                                                                     ACCOUNT NO. DC-3399-09                                                           J Represents creditor
                                                                     Pressler & Pressler
                                                                     Attn: New Century Financial
                                                                     7 Entin Rd.
                                                                     Parsippany, NJ 07054
                                                                                                                                                                                                                                                                               Notice Only
                                                                     ACCOUNT NO.
                                                                     Sears-Citibank
                                                                     POB 6282
                                                                     Sioux Falls, SD 57117-6282

                                                                                                                                                                                                                                                                               Notice Only
                                                                     ACCOUNT NO.                                                                                        and Cancer Treatment Centers of America
                                                                     Stradley Ronon
                                                                     Attn Eastern Regional Medical Center
                                                                     2005 Market St #2600
                                                                     Philadelphia, PA 19103
                                                                                                                                                                                                                                                                                 17,243.00
                                                                     ACCOUNT NO.
                                                                     SYNCHRONY Bank/JC Penney
                                                                     POB 965007
                                                                     Orlando, FL 32896

                                                                                                                                                                                                                                                                               Notice Only
                                                                     ACCOUNT NO.




                                                                     Sheet no.       2 of        2 continuation sheets attached to                                                                                                       Subtotal
                                                                     Schedule of Creditors Holding Unsecured Nonpriority Claims                                                                                              (Total of this page) $                              17,243.00
                                                                                                                                                                                                                                            Total
                                                                                                                                                                               (Use only on last page of the completed Schedule F. Report also on
                                                                                                                                                                                   the Summary of Schedules, and if applicable, on the Statistical
                                                                                                                                                                                                Summary of Certain Liabilities and Related Data.) $                              17,243.00
                                                                               Case
                                                                     B6G (Official Form 15-14390-JNP
                                                                                        6G) (12/07)                      Doc 1        Filed 03/13/15 Entered 03/13/15 12:49:30                                          Desc Main
                                                                                                                                     Document      Page 20 of 42
                                                                     IN RE Glancey, William E.                                                                                                 Case No.
                                                                                                                                 Debtor(s)                                                                                  (If known)

                                                                                                  SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES
                                                                        Describe all executory contracts of any nature and all unexpired leases of real or personal property. Include any timeshare interests. State nature of debtor’s interest in
                                                                     contract, i.e., “Purchaser,” “Agent,” etc. State whether debtor is the lessor or lessee of a lease. Provide the names and complete mailing addresses of all other parties to each
                                                                     lease or contract described. If a minor child is a party to one of the leases or contracts, state the child's initials and the name and address of the child's parent or guardian,
                                                                     such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).

                                                                     üCheck this box if debtor has no executory contracts or unexpired leases.
                                                                                                                                                                     DESCRIPTION OF CONTRACT OR LEASE AND NATURE OF DEBTOR’S INTEREST.
                                                                                        NAME AND MAILING ADDRESS, INCLUDING ZIP CODE
                                                                                                                                                                         STATE WHETHER LEASE IS FOR NONRESIDENTIAL REAL PROPERTY.
                                                                                           OF OTHER PARTIES TO LEASE OR CONTRACT
                                                                                                                                                                           STATE CONTRACT NUMBER OF ANY GOVERNMENT CONTRACT.
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                                                                               Case
                                                                     B6H (Official Form 15-14390-JNP
                                                                                        6H) (12/07)                      Doc 1         Filed 03/13/15 Entered 03/13/15 12:49:30                                           Desc Main
                                                                                                                                      Document      Page 21 of 42
                                                                     IN RE Glancey, William E.                                                                                                  Case No.
                                                                                                                                  Debtor(s)                                                                                   (If known)

                                                                                                                                     SCHEDULE H - CODEBTORS
                                                                        Provide the information requested concerning any person or entity, other than a spouse in a joint case, that is also liable on any debts listed by the debtor in the schedules
                                                                     of creditors. Include all guarantors and co-signers. If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska, Arizona,
                                                                     California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within the eight-year period immediately preceding the commencement
                                                                     of the case, identify the name of the debtor’s spouse and of any former spouse who resides or resided with the debtor in the community property state, commonwealth, or
                                                                     territory. Include all names used by the nondebtor spouse during the eight years immediately preceding the commencement of this case. If a minor child is a codebtor or
                                                                     a creditor, state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's
                                                                     name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).

                                                                     üCheck this box if debtor has no codebtors.
                                                                                                NAME AND ADDRESS OF CODEBTOR                                                               NAME AND ADDRESS OF CREDITOR
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                                                                                       Case 15-14390-JNP                 Doc 1           Filed 03/13/15 Entered 03/13/15 12:49:30                                  Desc Main
                                                                                                                                        Document      Page 22 of 42
                                                                                   Glancey, William E.
                                                                      Fill in this information to identify your case:


                                                                      Debtor 1           William
                                                                                         ___       E. Glancey
                                                                                             ____ _____ _______ ____ _____ ______ ____ _____ _______ ____ ______ ____ ____
                                                                                          F irst Name                Middle Name                Last Name

                                                                      Debtor 2            ___ ____ _____ _______ ____ _____ ______ _________ _______ ____ _____ _____ __
                                                                      (Spouse, if filing) F irst Name                Middle Name                Last Name


                                                                      United States Bankruptcy Court for t he: District of New Jersey

                                                                      Case num ber        ___ ____ _____ ______ _____ _____ ______ ____ _____                                       Check if this is:
                                                                          (If known)
                                                                                                                                                                                       An amended filing
                                                                                                                                                                                       A supplement showing post-petition
                                                                                                                                                                                       chapter 13 income as of the following date:
                                                                                                                                                                                       ________________
                                                                     Official Form 6I                                                                                                  MM / DD / YYYY


                                                                     Schedule I: Your Income                                                                                                                                           12/13
                                                                     Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
                                                                     supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your spouse.
                                                                     If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed, attach a
                                                                     separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


                                                                      Part 1:            Describe Employment
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                                                                     1.    Fill in your employment
                                                                           information.                                                               Debtor 1                                         Debtor 2 or non-filing spouse

                                                                            If you have more than one job,
                                                                            attach a separate page with
                                                                            information about additional           Employment status               üEmployed                                              Employed
                                                                            employers.                                                                 Not employed                                       Not employed
                                                                            Include part-time, seasonal, or
                                                                            self-employed work.
                                                                                                                   Occupation                    __________________________________                __________________________________
                                                                            Occupation may Include student
                                                                            or homemaker, if it applies.
                                                                                                                   Employer’s name               __________________________________                __________________________________


                                                                                                                   Employer’s address           __ ____ _______ _____ ____ _____ ______ ____ __   ___ _______ ____ _____ ____ ______ _____ ______
                                                                                                                                                  Number Street                                     Number     Street

                                                                                                                                                __ ____ _____ ______ _____ _____ ______ ____ __   ___ _______ __ ______ _____ _______ ____ _____ _

                                                                                                                                                ____ _____ ____ _______ ____ _____ ______ ____    _____ _____ _____ ______ ____ _____ ______ ____


                                                                                                                                                __ ____ _____ ______ _____ _____ ______ ____ __   _____ _____ ______ _____ ____ _____ ______ ____
                                                                                                                                                  Cit y              State   ZIP Code               City                    State ZIP Code

                                                                                                                   How long employed there?            _______                                      _______

                                                                      Part 2:            Give Details About Monthly Income

                                                                            Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
                                                                            spouse unless you are separated.
                                                                            If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines
                                                                            below. If you need more space, attach a separate sheet to this form.

                                                                                                                                                                               For Debtor 1         For Debtor 2 or
                                                                                                                                                                                                    non-filing spouse
                                                                      2.     List monthly gross wages, salary, and commissions (before all payroll
                                                                             deductions). If not paid monthly, calculate what the monthly wage would be.             2.
                                                                                                                                                                                   0.00
                                                                                                                                                                              $___________             $____________

                                                                      3.     Estimate and list monthly overtime pay.                                                 3.      + $___________
                                                                                                                                                                                    0.00           +   $____________


                                                                      4.     Calculate gross income. Add line 2 + line 3.                                            4.            0.00
                                                                                                                                                                              $__________              $____________



                                                                     Official Form 6I                                                       Schedule I: Your Income                                                                page 1
                                                                                    Case 15-14390-JNP                                Doc 1           Filed 03/13/15 Entered 03/13/15 12:49:30                                             Desc Main
                                                                                                                                                    Document      Page 23 of 42
                                                                     Debtor 1             William
                                                                                         ___ _______E. Glancey
                                                                                                    ____ _____ ______ _____ ____ _______ ____ _____ _____                                          Case numb er   (if known) _____ _______ _____ ____ _______ _____ ____
                                                                                         First Name          Middle Name                Last Name



                                                                                                                                                                                                  For Debtor 1            For Debtor 2 or
                                                                                                                                                                                                                          non-filing spouse

                                                                           Copy line 4 here ............................................................................................   4.            0.00
                                                                                                                                                                                                   $___________               $_____________

                                                                     5.    List all payroll deductions:

                                                                            5a. Tax, Medicare, and Social Security deductions                                                              5a.           0.00
                                                                                                                                                                                                  $____________              $_____________
                                                                            5b. Mandatory contributions for retirement plans                                                               5b.           0.00
                                                                                                                                                                                                  $____________              $_____________
                                                                            5c. Voluntary contributions for retirement plans                                                               5c.           0.00
                                                                                                                                                                                                  $____________              $_____________
                                                                            5d. Required repayments of retirement fund loans                                                               5d.           0.00
                                                                                                                                                                                                  $____________              $_____________
                                                                            5e. Insurance                                                                                                  5e.           0.00
                                                                                                                                                                                                  $____________              $_____________
                                                                            5f. Domestic support obligations                                                                               5f.           0.00
                                                                                                                                                                                                  $____________              $_____________

                                                                            5g. Union dues                                                                                                 5g.           0.00
                                                                                                                                                                                                  $____________              $_____________

                                                                            5h. Other deductions. Specify: __________________________________                                              5h.   + $____________
                                                                                                                                                                                                          0.00           +   $_____________

                                                                      6.    Add the payroll deductions. Add lines 5a + 5b + 5c + 5d + 5e +5f + 5g +5h.                                     6.     $____________
                                                                                                                                                                                                         0.00                $_____________

                                                                      7.    Calculate total monthly take-home pay. Subtract line 6 from line 4.                                            7.            0.00
                                                                                                                                                                                                  $____________              $_____________


                                                                           List all other income regularly received:
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                                                                      8.

                                                                            8a. Net income from rental property and from operating a business,
                                                                                profession, or farm
                                                                                Attach a statement for each property and business showing gross
                                                                                receipts, ordinary and necessary business expenses, and the total
                                                                                                                                                                                                         0.00
                                                                                                                                                                                                  $____________              $_____________
                                                                                monthly net income.                                                                                        8a.
                                                                             8b. Interest and dividends                                                                                    8b.           0.00
                                                                                                                                                                                                  $____________              $_____________
                                                                            8c. Family support payments that you, a non-filing spouse, or a dependent
                                                                                regularly receive
                                                                                Include alimony, spousal support, child support, maintenance, divorce
                                                                                                                                                                                                         0.00
                                                                                                                                                                                                  $____________              $_____________
                                                                                settlement, and property settlement.                                  8c.
                                                                            8d. Unemployment compensation                                                                                  8d.           0.00
                                                                                                                                                                                                  $____________              $_____________
                                                                            8e. Social Security                                                                                            8e.         3,798.00
                                                                                                                                                                                                  $____________              $_____________
                                                                             8f. Other government assistance that you regularly receive
                                                                                 Include cash assistance and the value (if known) of any non-cash assistance
                                                                                 that you receive, such as food stamps (benefits under the Supplemental                                                  0.00
                                                                                                                                                                                                  $____________              $_____________
                                                                                 Nutrition Assistance Program) or housing subsidies.
                                                                                 Specify: ___________________________________________________ 8f.

                                                                             8g. Pension or retirement income                                                                              8g.         1,637.00
                                                                                                                                                                                                  $____________              $_____________

                                                                             8h. Other monthly income. Specify: ________________  _______________
                                                                                                                 See Schedule Attached                                                     8h.   + $____________
                                                                                                                                                                                                        1,300.00           + $_____________
                                                                      9.    Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f +8g + 8h.                                          9.          6,735.00
                                                                                                                                                                                                  $____________              $_____________

                                                                     10. Calculate  monthly income. Add line 7 + line 9.
                                                                           Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.                                      10.        6,735.00
                                                                                                                                                                                                  $___________       +        $_____________ = $_____________
                                                                                                                                                                                                                                                   6,735.00

                                                                     11.   State all other regular contributions to the expenses that you list in Schedule J.
                                                                           Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
                                                                           other friends or relatives.
                                                                           Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
                                                                           Specify: _______________________________________________________________________________                                                                            11. + $_____________
                                                                                                                                                                                                                                                            0.00
                                                                     12.   Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
                                                                           Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it applies                                        12.       6,735.00
                                                                                                                                                                                                                                                       $_____________
                                                                                                                                                                                                                                                       Combined
                                                                                                                                                                                                                                                       monthly income
                                                                      13. Do     you expect an increase or decrease within the year after you file this form?
                                                                             ü No.                      None
                                                                                  Yes. Explain:


                                                                       Official Form 6I                                                                      Schedule I: Your Income                                                                       page 2
                                                                             Case 15-14390-JNP            Doc 1    Filed 03/13/15 Entered 03/13/15 12:49:30             Desc Main
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                                                                     IN RE Glancey, William E.                                                         Case No.
                                                                                                               Debtor(s)

                                                                                             SCHEDULE I - CURRENT INCOME OF INDIVIDUAL DEBTOR(S)
                                                                                                                    Continuation Sheet - Page 1 of 1

                                                                                                                                                                  DEBTOR        SPOUSE
                                                                     Other monthly income:
                                                                     Daughter's Contribution                                                                       1,300.00
                                                                     Union Work As Available (Net Per Month)                                                           0.00
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                                                                                        Case 15-14390-JNP                   Doc 1         Filed 03/13/15 Entered 03/13/15 12:49:30                                  Desc Main
                                                                                                                                         Document      Page 25 of 42
                                                                                     Glancey, William E.
                                                                          Fill in this information to identify your case:

                                                                          Debtor 1           William
                                                                                            ___ _______E. Glancey
                                                                                                       ____ _____ ____ _____ ______ ____ _______ _____ ____ _______ ____ _
                                                                                             First Name                 Middle Name                Last Name                       Check if this is:
                                                                          Debtor 2           ___ ____ _____ _______ ____ _____ ______ _______ ____ _____ ____ _______ ___
                                                                          (Spouse, if filing) First Name                Middle Name                Last Name
                                                                                                                                                                                       An amended filing
                                                                                                                                                                                       A supplement showing post-petition chapter 13
                                                                          United Sta tes Bankruptcy Court for th e: District of New Jersey                                             expenses as of the following date:
                                                                                                                                                                                       ________________
                                                                          Case num ber       ___ ____ _____ ______ _____ _____ ______ _______ __                                       MM / DD / YYYY
                                                                           (If known)
                                                                                                                                                                                       A separate filing for Debtor 2 because Debtor 2
                                                                                                                                                                                       maintains a separate household
                                                                     Official Form 6J
                                                                     Schedule J: Your Expenses                                                                                                                                     12/13

                                                                     Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
                                                                     information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
                                                                     (if known). Answer every question.

                                                                      Part 1:               Describe Your Household

                                                                     1.    Is this a joint case?

                                                                           ü No.     Go to line 2.
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                                                                                Yes. Does Debtor 2 live in a separate household?

                                                                                             No
                                                                                             Yes. Debtor 2 must file a separate Schedule J.

                                                                     2.    Do you have dependents?                         No                                  Dependent’s relations hip to              De pendent’s   Does d epe ndent live
                                                                           Do not list Debtor 1 and
                                                                           Debtor 2.
                                                                                                                      ü Yes. Fill out this information for Debtor 1 or Debtor 2
                                                                                                                        each dependent..........................
                                                                                                                                                                                                         age            with you?

                                                                                                                                                                                                                            No
                                                                           Do not state the dependents’                                                        See Schedule Attached
                                                                                                                                                               __________________  _______               ________
                                                                           names.                                                                                                                                           Yes

                                                                                                                                                                _________________________                ________           No
                                                                                                                                                                                                                            Yes

                                                                                                                                                                _________________________                ________           No
                                                                                                                                                                                                                            Yes

                                                                                                                                                                _________________________                ________           No
                                                                                                                                                                                                                            Yes

                                                                                                                                                                _________________________                ________           No
                                                                                                                                                                                                                            Yes

                                                                     3.    Do your expenses include
                                                                           expenses of people other than
                                                                                                                      ü No
                                                                           yourself and your dependents?                   Yes

                                                                     Part 2:            Estimate Your Ongoing Monthly Expenses

                                                                     Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
                                                                     expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
                                                                     applicable date.
                                                                     Include expenses paid for with non-cash government assistance if you know the value of
                                                                     such assistance and have included it on Schedule I: Your Income (Official Form 6I.)                                                    Your expenses

                                                                      4.     The rental or home ownership expenses for your residence. Include first mortgage payments and
                                                                             any rent for the ground or lot.                                                                                       4.
                                                                                                                                                                                                                2,285.00
                                                                                                                                                                                                           $_____________________

                                                                             If not included in line 4:
                                                                             4a.    Real estate taxes                                                                                              4a.            0.00
                                                                                                                                                                                                           $_____________________
                                                                             4b.    Property, homeowner’s, or renter’s insurance                                                                   4b.            0.00
                                                                                                                                                                                                           $_____________________
                                                                             4c.    Home maintenance, repair, and upkeep expenses                                                                  4c.            50.00
                                                                                                                                                                                                           $_____________________

                                                                             4d.    Homeowner’s association or condominium dues                                                                    4d.            0.00
                                                                                                                                                                                                           $_____________________

                                                                          Official Form 6J                                                   Schedule J: Your Expenses                                                        page 1
                                                                                      Case 15-14390-JNP                    Doc 1          Filed 03/13/15 Entered 03/13/15 12:49:30                          Desc Main
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                                                                      Debtor 1            William
                                                                                          ___       E.____
                                                                                              _______  Glancey
                                                                                                           _____ ______ _____ ____ _______ ____ _____ _____          Case numb er   (if known) _____ _______ _____ ____ _______ _____ ____
                                                                                          First Name     Middle Name         Last Name




                                                                                                                                                                                                     Your expenses

                                                                                                                                                                                                    $_____________________
                                                                                                                                                                                                          500.00
                                                                      5.    Additional mortgage payments for your residence, such as home equity loans                                      5.


                                                                      6.    Utilities:
                                                                             6a.     Electricity, heat, natural gas                                                                         6a.           375.00
                                                                                                                                                                                                    $_____________________
                                                                             6b.     Water, sewer, garbage collection                                                                       6b.           120.00
                                                                                                                                                                                                    $_____________________
                                                                             6c.     Telephone, cell phone, Internet, satellite, and cable services                                         6c.           200.00
                                                                                                                                                                                                    $_____________________

                                                                             6d.                     Cable, Internet, Phone
                                                                                     Other. Specify: _______________  ________________________________                                      6d.           180.00
                                                                                                                                                                                                    $_____________________

                                                                      7.    Food and housekeeping supplies                                                                                  7.            900.00
                                                                                                                                                                                                    $_____________________

                                                                      8.    Childcare and children’s education costs                                                                        8.             0.00
                                                                                                                                                                                                    $_____________________
                                                                      9.    Clothing, laundry, and dry cleaning                                                                             9.            150.00
                                                                                                                                                                                                    $_____________________
                                                                     10.    Personal care products and services                                                                             10.            75.00
                                                                                                                                                                                                    $_____________________
                                                                     11.    Medical and dental expenses                                                                                     11.     $_____________________
                                                                                                                                                                                                          240.00
                                                                     12.    Transportation. Include gas, maintenance, bus or train fare.
                                                                                                                                                                                                          250.00
                                                                                                                                                                                                    $_____________________
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                                                                            Do not include car payments.                                                                                    12.

                                                                     13.     Entertainment, clubs, recreation, newspapers, magazines, and books                                             13.           100.00
                                                                                                                                                                                                    $_____________________
                                                                     14.     Charitable contributions and religious donations                                                               14.     $_____________________
                                                                                                                                                                                                           0.00
                                                                     15.     Insurance.
                                                                             Do not include insurance deducted from your pay or included in lines 4 or 20.

                                                                             15a .   Life insurance                                                                                         15a .          0.00
                                                                                                                                                                                                    $_____________________
                                                                             15b .   Health insurance                                                                                       15b .         553.00
                                                                                                                                                                                                    $_____________________
                                                                             15c.    Vehicle insurance                                                                                      15c.          100.00
                                                                                                                                                                                                    $_____________________
                                                                             15d .   Other insurance. Specify:_______________________________________                                       15d .          0.00
                                                                                                                                                                                                    $_____________________

                                                                     16.    Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
                                                                                                                                                                                                           0.00
                                                                                                                                                                                                    $_____________________
                                                                             Specify: ________________________________________________________                                              16.


                                                                     17.    Installment or lease payments:

                                                                             17a .   Car payments for Vehicle 1                                                                             17a.           0.00
                                                                                                                                                                                                    $_____________________

                                                                             17b .   Car payments for Vehicle 2                                                                             17b .          0.00
                                                                                                                                                                                                    $_____________________

                                                                             17 c.                    Timeshare Maintenance
                                                                                     Other. Specify:_________________________________
                                                                                                                                    ______________                                          17c.           80.00
                                                                                                                                                                                                    $_____________________

                                                                             17 d.   Other. Specify:_________________________________
                                                                                                                                    ______________                                          17d .   $_____________________

                                                                     18.    Your payments of alimony, maintenance, and support that you did not report as deducted from
                                                                                                                                                                                                           0.00
                                                                                                                                                                                                    $_____________________
                                                                            your pay on line 5, Schedule I, Your Income (Official Form 6I).                                                  18.


                                                                     19.    Other payments you make to support others who do not live with you.                                                            0.00
                                                                                                                                                                                                    $_____________________
                                                                            Specify:_______________________________________________________                                                  19.

                                                                     20.    Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.

                                                                             20a .   Mortgages on other property                                                                           20 a.           0.00
                                                                                                                                                                                                    $_____________________

                                                                             20b .   Real estate taxes                                                                                     20b .    $_____________________
                                                                                                                                                                                                           0.00
                                                                             20c.    Property, homeowner’s, or renter’s insurance                                                          20c.            0.00
                                                                                                                                                                                                    $_____________________

                                                                             20d .   Maintenance, repair, and upkeep expenses                                                              20d .    $_____________________
                                                                                                                                                                                                           0.00
                                                                             20e .   Homeowner’s association or condominium dues                                                           20e .    $_____________________
                                                                                                                                                                                                           0.00


                                                                           Official Form 6J                                              Schedule J: Your Expenses                                                           page 2
                                                                     0.00
                                                                                     Case 15-14390-JNP                  Doc 1           Filed 03/13/15 Entered 03/13/15 12:49:30                            Desc Main
                                                                                                                                       Document      Page 27 of 42
                                                                       Debtor 1          William
                                                                                        ___ _______E. Glancey
                                                                                                   ____ _____ ______ _____ ____ _______ ____ _____ _____             Case numb er   (if known) _____ _______ _____ ____ _______ _____ ____
                                                                                        First Name    Middle Name          Last Name




                                                                      21.     Other. Specify: ________________________________
                                                                                              Misc                            _________________                                            21 .   +$_____________________
                                                                                                                                                                                                         200.00

                                                                      22.     Your monthly expenses. Add lines 4 through 21.
                                                                                                                                                                                                         6,358.00
                                                                                                                                                                                                    $_____________________
                                                                              The result is your monthly expenses.                                                                         22 .




                                                                       23.   Calculate your monthly net income.
                                                                                                                                                                                                          6,735.00
                                                                                                                                                                                                     $_____________________
                                                                             23a.   Copy line 12 (your combined monthly income) from Schedule I.                                          23a.

                                                                             23b.   Copy your monthly expenses from line 22 above.                                                        23b .   – $_____________________
                                                                                                                                                                                                         6,358.00

                                                                             23c.   Subtract your monthly expenses from your monthly income.
                                                                                                                                                                                                           377.00
                                                                                                                                                                                                     $_____________________
                                                                                    The result is your monthly net income.                                                                23c.




                                                                      24.    Do you expect an increase or decrease in your expenses within the year after you file this form?

                                                                             For example, do you expect to finish paying for your car loan within the year or do you expect your
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                                                                             mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

                                                                             ü No.
                                                                                Yes.    None




                                                                            Official Form 6J                                           Schedule J: Your Expenses                                                             page 3
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                                                                     IN RE Glancey, William E.                                                      Case No.
                                                                                                            Debtor(s)

                                                                                        SCHEDULE J - CURRENT EXPENDITURES OF INDIVIDUAL DEBTOR(S)
                                                                                                                 Continuation Sheet - Page 1 of 1
                                                                     DEPENDENTS:                 RELATIONSHIP                             AGE                  DOES DEPENDENT LIVE WITH YOU?
                                                                                                 Daughter                                 26                   Yes
                                                                                                 Daughter                                 15                   Yes
                                                                                                 Son                                      22                   Yes
                                                                                                 Son                                      19                   Yes
                                                                                                 Son                                      11                   Yes
                                                                                                 Son                                      10                   Yes
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                                                                               Case
                                                                     B6 Declaration     15-14390-JNP
                                                                                    (Official Form 6 - Declaration) Doc
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                                                                     IN RE Glancey, William E.                                                                                           Case No.
                                                                                                                               Debtor(s)                                                                                    (If known)

                                                                                                             DECLARATION CONCERNING DEBTOR'S SCHEDULES

                                                                                                      DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR

                                                                     I declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of                                      23 sheets, and that they are
                                                                     true and correct to the best of my knowledge, information, and belief.


                                                                     Date: March 13, 2015                                 Signature: /s/ William E. Glancey
                                                                                                                                                                                                                                                       Debtor
                                                                                                                                       William E. Glancey

                                                                     Date:                                                Signature:
                                                                                                                                                                                                                                         (Joint Debtor, if any)
                                                                                                                                                                                               [If joint case, both spouses must sign.]

                                                                                   DECLARATION AND SIGNATURE OF NON-ATTORNEY BANKRUPTCY PETITION PREPARER (See 11 U.S.C. § 110)

                                                                     I declare under penalty of perjury that: (1) I am a bankruptcy petition preparer as defined in 11 U.S.C. § 110; (2) I prepared this document for
                                                                     compensation and have provided the debtor with a copy of this document and the notices and information required under 11 U.S.C. §§ 110(b), 110(h),
                                                                     and 342 (b); and, (3) if rules or guidelines have been promulgated pursuant to 11 U.S.C. § 110(h) setting a maximum fee for services chargeable by
                                                                     bankruptcy petition preparers, I have given the debtor notice of the maximum amount before preparing any document for filing for a debtor or accepting
                                                                     any fee from the debtor, as required by that section.
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                                                                     Printed or Typed Name and Title, if any, of Bankruptcy Petition Preparer                                           Social Security No. (Required by 11 U.S.C. § 110.)
                                                                     If the bankruptcy petition preparer is not an individual, state the name, title (if any), address, and social security number of the officer, principal,
                                                                     responsible person, or partner who signs the document.



                                                                     Address




                                                                     Signature of Bankruptcy Petition Preparer                                                                          Date

                                                                     Names and Social Security numbers of all other individuals who prepared or assisted in preparing this document, unless the bankruptcy petition preparer
                                                                     is not an individual:


                                                                     If more than one person prepared this document, attach additional signed sheets conforming to the appropriate Official Form for each person.

                                                                     A bankruptcy petition preparer's failure to comply with the provision of title 11 and the Federal Rules of Bankruptcy Procedure may result in fines or
                                                                     imprisonment or both. 11 U.S.C. § 110; 18 U.S.C. § 156.


                                                                                     DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

                                                                     I, the                                                                     (the president or other officer or an authorized agent of the corporation or a
                                                                     member or an authorized agent of the partnership) of the
                                                                     (corporation or partnership) named as debtor in this case, declare under penalty of perjury that I have read the foregoing summary and
                                                                     schedules, consisting of          sheets (total shown on summary page plus 1), and that they are true and correct to the best of my
                                                                     knowledge, information, and belief.



                                                                     Date:                                                Signature:


                                                                                                                                                                                                 (Print or type name of individual signing on behalf of debtor)

                                                                                   [An individual signing on behalf of a partnership or corporation must indicate position or relationship to debtor.]
                                                                              Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both. 18 U.S.C. §§ 152 and 3571.
                                                                                Case
                                                                     B7 (Official Form 7)15-14390-JNP
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                                                                                                                              United States Bankruptcy Court
                                                                                                                                   District of New Jersey

                                                                     IN RE:                                                                                                       Case No.
                                                                     Glancey, William E.                                                                                          Chapter 13
                                                                                                                      Debtor(s)

                                                                                                                       STATEMENT OF FINANCIAL AFFAIRS
                                                                        This statement is to be completed by every debtor. Spouses filing a joint petition may file a single statement on which the information for both spouses
                                                                     is combined. If the case is filed under chapter 12 or chapter 13, a married debtor must furnish information for both spouses whether or not a joint petition
                                                                     is filed, unless the spouses are separated and a joint petition is not filed. An individual debtor engaged in business as a sole proprietor, partner, family
                                                                     farmer, or self-employed professional, should provide the information requested on this statement concerning all such activities as well as the individual's
                                                                     personal affairs. To indicate payments, transfers and the like to minor children, state the child's initials and the name and address of the child's parent or
                                                                     guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).

                                                                       Questions 1 - 18 are to be completed by all debtors. Debtors that are or have been in business, as defined below, also must complete Questions 19 -
                                                                     25. If the answer to an applicable question is "None," mark the box labeled "None." If additional space is needed for the answer to any question,
                                                                     use and attach a separate sheet properly identified with the case name, case number (if known), and the number of the question.

                                                                                                                                             DEFINITIONS

                                                                       "In business." A debtor is "in business" for the purpose of this form if the debtor is a corporation or partnership. An individual debtor is "in business"
                                                                     for the purpose of this form if the debtor is or has been, within six years immediately preceding the filing of this bankruptcy case, any of the following:
                                                                     an officer, director, managing executive, or owner of 5 percent or more of the voting or equity securities of a corporation; a partner, other than a limited
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                                                                     partner, of a partnership; a sole proprietor or self-employed full-time or part-time. An individual debtor also may be “in business” for the purpose of this
                                                                     form if the debtor engages in a trade, business, or other activity, other than as an employee, to supplement income from the debtor’s primary employment.

                                                                       "Insider." The term "insider" includes but is not limited to: relatives of the debtor; general partners of the debtor and their relatives; corporations of
                                                                     which the debtor is an officer, director, or person in control; officers, directors, and any persons in control of a corporate debtor and their relatives;
                                                                     affiliates of the debtor and insiders of such affiliates; any managing agent of the debtor. 11 U.S.C. § 101(2),(31).

                                                                     1. Income from employment or operation of business
                                                                      None   State the gross amount of income the debtor has received from employment, trade, or profession, or from operation of the debtor's business,
                                                                             including part-time activities either as an employee or in independent trade or business, from the beginning of this calendar year to the date this
                                                                             case was commenced. State also the gross amounts received during the two years immediately preceding this calendar year. (A debtor that
                                                                             maintains, or has maintained, financial records on the basis of a fiscal rather than a calendar year may report fiscal year income. Identify the
                                                                             beginning and ending dates of the debtor's fiscal year.) If a joint petition is filed, state income for each spouse separately. (Married debtors filing
                                                                             under chapter 12 or chapter 13 must state income of both spouses whether or not a joint petition is filed, unless the spouses are separated and a
                                                                             joint petition is not filed.)
                                                                                 AMOUNT SOURCE
                                                                                 100,000.00 2014 estimated joint income with deceased spouse
                                                                                 110,236.00 2013
                                                                                  97,815.00 2012
                                                                                  15,000.00 2015 icncome year to date: pension and IRA withdrawls-est

                                                                     2. Income other than from employment or operation of business
                                                                      None   State the amount of income received by the debtor other than from employment, trade, profession, operation of the debtor’s business during the
                                                                      ü      two years immediately preceding the commencement of this case. Give particulars. If a joint petition is filed, state income for each spouse
                                                                             separately. (Married debtors filing under chapter 12 or chapter 13 must state income for each spouse whether or not a joint petition is filed, unless
                                                                             the spouses are separated and a joint petition is not filed.)

                                                                     3. Payments to creditors
                                                                     Complete a. or b., as appropriate, and c.
                                                                      None   a. Individual or joint debtor(s) with primarily consumer debts: List all payments on loans, installment purchases of goods or services, and other
                                                                      ü      debts to any creditor made within 90 days immediately preceding the commencement of this case unless the aggregate value of all property that
                                                                             constitutes or is affected by such transfer is less than $600. Indicate with an asterisk (*) any payments that were made to a creditor on account of
                                                                             a domestic support obligation or as part of an alternative repayment schedule under a plan by an approved nonprofit budgeting and credit
                                                                             counseling agency. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both spouses whether or not a joint
                                                                             petition is filed, unless the spouses are separated and a joint petition is not filed.)
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                                                                      None   b. Debtor whose debts are not primarily consumer debts: List each payment or other transfer to any creditor made within 90 days immediately
                                                                      ü      preceding the commencement of the case unless the aggregate value of all property that constitutes or is affected by such transfer is less than
                                                                             $6,255.* If the debtor is an individual, indicate with an asterisk (*) any payments that were made to a creditor on account of a domestic support
                                                                             obligation or as part of an alternative repayment schedule under a plan by an approved nonprofit budgeting and credit counseling agency. (Married
                                                                             debtors filing under chapter 12 or chapter 13 must include payments and other transfers by either or both spouses whether or not a joint petition
                                                                             is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                             * Amount subject to adjustment on 4/01/16, and every three years thereafter with respect to cases commenced on or after the date of adjustment.

                                                                      None   c. All debtors: List all payments made within one year immediately preceding the commencement of this case to or for the benefit of creditors
                                                                      ü      who are or were insiders. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both spouses whether or not
                                                                             a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                     4. Suits and administrative proceedings, executions, garnishments and attachments
                                                                      None   a. List all suits and administrative proceedings to which the debtor is or was a party within one year immediately preceding the filing of this
                                                                      ü      bankruptcy case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses whether or
                                                                             not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                      None   b. Describe all property that has been attached, garnished or seized under any legal or equitable process within one year immediately preceding
                                                                      ü      the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning property of either
                                                                             or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                     5. Repossessions, foreclosures and returns
                                                                      None   List all property that has been repossessed by a creditor, sold at a foreclosure sale, transferred through a deed in lieu of foreclosure or returned to
                                                                      ü      the seller, within one year immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must
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                                                                             include information concerning property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a
                                                                             joint petition is not filed.)

                                                                     6. Assignments and receiverships
                                                                      None   a. Describe any assignment of property for the benefit of creditors made within 120 days immediately preceding the commencement of this case.
                                                                      ü      (Married debtors filing under chapter 12 or chapter 13 must include any assignment by either or both spouses whether or not a joint petition is filed,
                                                                             unless the spouses are separated and joint petition is not filed.)

                                                                      None   b. List all property which has been in the hands of a custodian, receiver, or court-appointed official within one year immediately preceding the
                                                                      ü      commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning property of either or both
                                                                             spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                     7. Gifts
                                                                      None   List all gifts or charitable contributions made within one year immediately preceding the commencement of this case except ordinary and usual
                                                                      ü      gifts to family members aggregating less than $200 in value per individual family member and charitable contributions aggregating less than $100
                                                                             per recipient. (Married debtors filing under chapter 12 or chapter 13 must include gifts or contributions by either or both spouses whether or not
                                                                             a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                     8. Losses
                                                                      None   List all losses from fire, theft, other casualty or gambling within one year immediately preceding the commencement of this case or since the
                                                                             commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include losses by either or both spouses whether or not
                                                                             a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)
                                                                     DESCRIPTION AND                                DESCRIPTION OF CIRCUMSTANCES AND, IF LOSS WAS COVERED IN
                                                                     VALUE OF PROPERTY                              WHOLE OR IN PART BY INSURANCE, GIVE PARTICULARS                                         DATE OF LOSS
                                                                     2000 Nissan Sentra $3000                       car was totaled in accident                                                             Feb 2015

                                                                     9. Payments related to debt counseling or bankruptcy
                                                                      None   List all payments made or property transferred by or on behalf of the debtor to any persons, including attorneys, for consultation concerning debt
                                                                             consolidation, relief under the bankruptcy law or preparation of a petition in bankruptcy within one year immediately preceding the commencement
                                                                             of this case.
                                                                                                                                      DATE OF PAYMENT, NAME OF                      AMOUNT OF MONEY OR DESCRIPTION
                                                                     NAME AND ADDRESS OF PAYEE                                        PAYOR IF OTHER THAN DEBTOR                            AND VALUE OF PROPERTY
                                                                     Start Fresh Today                                                02/12/2015                                                              20.00
                                                                     3511 W. Commercial Blvd. Ste. 401
                                                                     Fort Lauderdale, FL 33309-0000
                                                                     Subranni Zauber LLC                                              02/12/2015                                                                          1,000.00
                                                                                Case 15-14390-JNP                   Doc 1        Filed 03/13/15 Entered 03/13/15 12:49:30                                 Desc Main
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                                                                     1624 Pacific Avenue
                                                                     Atlantic City, NJ 08401

                                                                     10. Other transfers
                                                                      None   a. List all other property, other than property transferred in the ordinary course of the business or financial affairs of the debtor, transferred either
                                                                             absolutely or as security within two years immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or
                                                                             chapter 13 must include transfers by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint
                                                                             petition is not filed.)
                                                                     NAME AND ADDRESS OF TRANSFEREE,                                                                                  DESCRIBE PROPERTY TRANSFERRED
                                                                     RELATIONSHIP TO DEBTOR                                            DATE                                           AND VALUE RECEIVED
                                                                     Individual                                                        June 2014                                      1980 17 foot Dixie (boat) $350.00
                                                                                                                                                                                      Debtor cannot recall the buyer's name; he
                                                                                                                                                                                      was a resident of Egg harbor Twp., NJ

                                                                      None   b. List all property transferred by the debtor within ten years immediately preceding the commencement of this case to a self-settled trust or similar
                                                                      ü      device of which the debtor is a beneficiary.

                                                                     11. Closed financial accounts
                                                                      None   List all financial accounts and instruments held in the name of the debtor or for the benefit of the debtor which were closed, sold, or otherwise
                                                                      ü      transferred within one year immediately preceding the commencement of this case. Include checking, savings, or other financial accounts,
                                                                             certificates of deposit, or other instruments; shares and share accounts held in banks, credit unions, pension funds, cooperatives, associations,
                                                                             brokerage houses and other financial institutions. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
                                                                             accounts or instruments held by or for either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint
                                                                             petition is not filed.)
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                                                                     12. Safe deposit boxes
                                                                      None   List each safe deposit or other box or depository in which the debtor has or had securities, cash, or other valuables within one year immediately
                                                                      ü      preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include boxes or depositories of either or
                                                                             both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                     13. Setoffs
                                                                      None   List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor within 90 days preceding the commencement of this
                                                                      ü      case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses whether or not a joint
                                                                             petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                     14. Property held for another person
                                                                      None   List all property owned by another person that the debtor holds or controls.
                                                                      ü
                                                                     15. Prior address of debtor
                                                                      None   If debtor has moved within three years immediately preceding the commencement of this case, list all premises which the debtor occupied during
                                                                      ü      that period and vacated prior to the commencement of this case. If a joint petition is filed, report also any separate address of either spouse.

                                                                     16. Spouses and Former Spouses
                                                                      None   If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska, Arizona, California, Idaho, Louisiana,
                                                                      ü      Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within eight years immediately preceding the commencement of the case,
                                                                             identify the name of the debtor’s spouse and of any former spouse who resides or resided with the debtor in the community property state.

                                                                     17. Environmental Information
                                                                     For the purpose of this question, the following definitions apply:
                                                                     “Environmental Law” means any federal, state, or local statute or regulation regulating pollution, contamination, releases of hazardous or toxic substances,
                                                                     wastes or material into the air, land, soil, surface water, groundwater, or other medium, including, but not limited to, statutes or regulations regulating
                                                                     the cleanup of these substances, wastes or material.
                                                                     “Site” means any location, facility, or property as defined under any Environmental Law, whether or not presently or formerly owned or operated by the
                                                                     debtor, including, but not limited to, disposal sites.
                                                                     “Hazardous Material” means anything defined as a hazardous waste, hazardous substance, toxic substance, hazardous material, pollutant, or contaminant
                                                                     or similar term under an Environmental Law.
                                                                                Case 15-14390-JNP                   Doc 1       Filed 03/13/15 Entered 03/13/15 12:49:30                                Desc Main
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                                                                      None   a. List the name and address of every site for which the debtor has received notice in writing by a governmental unit that it may be liable or
                                                                      ü      potentially liable under or in violation of an Environmental Law. Indicate the governmental unit, the date of the notice, and, if known, the
                                                                             Environmental Law.

                                                                      None   b. List the name and address of every site for which the debtor provided notice to a governmental unit of a release of Hazardous Material. Indicate
                                                                      ü      the governmental unit to which the notice was sent and the date of the notice.

                                                                      None   c. List all judicial or administrative proceedings, including settlements or orders, under any Environmental Law with respect to which the debtor
                                                                      ü      is or was a party. Indicate the name and address of the governmental unit that is or was a party to the proceeding, and the docket number.

                                                                     18. Nature, location and name of business
                                                                      None   a. If the debtor is an individual, list the names, addresses, taxpayer-identification numbers, nature of the businesses, and beginning and ending dates
                                                                      ü      of all businesses in which the debtor was an officer, director, partner, or managing executive of a corporation, partner in a partnership, sole
                                                                             proprietor, or was self-employed in a trade, profession, or other activity either full- or part-time within six years immediately preceding the
                                                                             commencement of this case, or in which the debtor owned 5 percent or more of the voting or equity securities within six years immediately
                                                                             preceding the commencement of this case.
                                                                             If the debtor is a partnership, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and ending dates
                                                                             of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities, within six years immediately
                                                                             preceding the commencement of this case.
                                                                             If the debtor is a corporation, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and ending dates
                                                                             of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities within six years immediately
                                                                             preceding the commencement of this case.
                                                                      None   b. Identify any business listed in response to subdivision a., above, that is “single asset real estate” as defined in 11 U.S.C. § 101.
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                                                                      ü
                                                                     [If completed by an individual or individual and spouse]

                                                                     I declare under penalty of perjury that I have read the answers contained in the foregoing statement of financial affairs and any attachments
                                                                     thereto and that they are true and correct.



                                                                     Date: March 13, 2015                             Signature /s/ William E. Glancey
                                                                                                                      of Debtor                                                                               William E. Glancey

                                                                     Date:                                            Signature
                                                                                                                      of Joint Debtor
                                                                                                                      (if any)

                                                                                                                                        0 continuation pages attached


                                                                      Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years or both. 18 U.S.C. § 152 and 3571.
                                                                                     Case 15-14390-JNP                                        Doc 1              Filed 03/13/15 Entered 03/13/15 12:49:30                                                                           Desc Main
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                                                                                                                                                             United States Bankruptcy Court
                                                                                                                                                                  District of New Jersey

                                                                     IN RE:                                                                                                                                                                     Case No.
                                                                     Glancey, William E.                                                                                                                                                        Chapter 13
                                                                                                                                                  Debtor(s)

                                                                                                                  DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR
                                                                     1.     Pursuant to 11 U.S.C. § 329(a) and Bankruptcy Rule 2016(b), I certify that I am the attorney for the above-named debtor(s) and that compensation paid to me within
                                                                            one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to be rendered on behalf of the debtor(s) in contemplation
                                                                            of or in connection with the bankruptcy case is as follows:

                                                                            For legal services, I have agreed to accept . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $               3,500.00

                                                                            Prior to the filing of this statement I have received . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $                   1,000.00

                                                                            Balance Due . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $   2,500.00

                                                                     2.     The source of the compensation paid to me was:                            üDebtor                 Other (specify):

                                                                     3.     The source of compensation to be paid to me is:                           üDebtor                 Other (specify):

                                                                     4.     ü I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.
                                                                                   I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A copy of the agreement,
                                                                                   together with a list of the names of the people sharing in the compensation, is attached.
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                                                                     5.     In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

                                                                            a.     Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
                                                                            b.     Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
                                                                            c.     Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
                                                                            d.     Representation of the debtor in adversary proceedings and other contested bankruptcy matters;
                                                                            e.     [Other provisions as needed]




                                                                     6.     By agreement with the debtor(s), the above disclosed fee does not include the following services:
                                                                            The terms and conditions contained in the retainer agreement are incorporated by reference herein.




                                                                                                                                                                                    CERTIFICATION
                                                                          I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in this bankruptcy
                                                                          proceeding.


                                                                                                     March 13, 2015                                                 /s/ Scott M. Zauber, Esq.
                                                                                                               Date                                                 Scott M. Zauber, Esq. SZ6086
                                                                                                                                                                    SUBRANNI ZAUBER LLC                        ;ëA0ú°i ZAUBER
                                                                                                                                                                    1624 Pacific Avenue
                                                                                                                                                                    Atlantic City, NJ 08401-0000

                                                                                                                                                                    szauber@subranni.com
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                                                                     FB 201A (Form 201A) (06/14)


                                                                                                         UNITED STATES BANKRUPTCY COURT

                                                                                                   NOTICE TO CONSUMER DEBTOR(S) UNDER §342(b)
                                                                                                            OF THE BANKRUPTCY CODE

                                                                              In accordance with § 342(b) of the Bankruptcy Code, this notice to individuals with primarily consumer debts: (1)
                                                                     Describes briefly the services available from credit counseling services; (2) Describes briefly the purposes, benefits and
                                                                     costs of the four types of bankruptcy proceedings you may commence; and (3) Informs you about bankruptcy crimes and
                                                                     notifies you that the Attorney General may examine all information you supply in connection with a bankruptcy case.

                                                                             You are cautioned that bankruptcy law is complicated and not easily described. Thus, you may wish to seek the
                                                                     advice of an attorney to learn of your rights and responsibilities should you decide to file a petition. Court employees
                                                                     cannot give you legal advice.

                                                                              Notices from the bankruptcy court are sent to the mailing address you list on your bankruptcy petition. In order to
                                                                     ensure that you receive information about events concerning your case, Bankruptcy Rule 4002 requires that you notify the
                                                                     court of any changes in your address. If you are filing a joint case (a single bankruptcy case for two individuals married to
                                                                     each other), and each spouse lists the same mailing address on the bankruptcy petition, you and your spouse will generally
                                                                     receive a single copy of each notice mailed from the bankruptcy court in a jointly-addressed envelope, unless you file a
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                                                                     statement with the court requesting that each spouse receive a separate copy of all notices.

                                                                     1. Services Available from Credit Counseling Agencies

                                                                             With limited exceptions, § 109(h) of the Bankruptcy Code requires that all individual debtors who file for
                                                                     bankruptcy relief on or after October 17, 2005, receive a briefing that outlines the available opportunities for
                                                                     credit counseling and provides assistance in performing a budget analysis. The briefing must be given within 180
                                                                     days before the bankruptcy filing. The briefing may be provided individually or in a group (including briefings conducted
                                                                     by telephone or on the Internet) and must be provided by a nonprofit budget and credit counseling agency approved by the
                                                                     United States trustee or bankruptcy administrator. The clerk of the bankruptcy court has a list that you may consult of the
                                                                     approved budget and credit counseling agencies. Each debtor in a joint case must complete the briefing.

                                                                             In addition, after filing a bankruptcy case, an individual debtor generally must complete a financial
                                                                     management instructional course before he or she can receive a discharge. The clerk also has a list of approved
                                                                     financial management instructional courses. Each debtor in a joint case must complete the course.

                                                                     2. The Four Chapters of the Bankruptcy Code Available to Individual Consumer Debtors

                                                                               Chapter 7: Liquidation ($245 filing fee, $75 administrative fee, $15 trustee surcharge: Total fee $335)
                                                                               Chapter 7 is designed for debtors in financial difficulty who do not have the ability to pay their existing debts.
                                                                     Debtors whose debts are primarily consumer debts are subject to a “means test” designed to determine whether the case
                                                                     should be permitted to proceed under chapter 7. If your income is greater than the median income for your state of
                                                                     residence and family size, in some cases, the United States trustee (or bankruptcy administrator), the trustee, or creditors
                                                                     have the right to file a motion requesting that the court dismiss your case under § 707(b) of the Code. It is up to the court
                                                                     to decide whether the case should be dismissed.
                                                                               Under chapter 7, you may claim certain of your property as exempt under governing law. A trustee may have the
                                                                     right to take possession of and sell the remaining property that is not exempt and use the sale proceeds to pay your
                                                                     creditors.
                                                                               The purpose of filing a chapter 7 case is to obtain a discharge of your existing debts. If, however, you are found to
                                                                     have committed certain kinds of improper conduct described in the Bankruptcy Code, the court may deny your
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                                                                     Form B 201A, Notice to Consumer Debtor(s)                                                                                     Page 2

                                                                     discharge and, if it does, the purpose for which you filed the bankruptcy petition will be defeated.
                                                                              Even if you receive a general discharge, some particular debts are not discharged under the law. Therefore, you
                                                                     may still be responsible for most taxes and student loans; debts incurred to pay nondischargeable taxes; domestic support
                                                                     and property settlement obligations; most fines, penalties, forfeitures, and criminal restitution obligations; certain debts
                                                                     which are not properly listed in your bankruptcy papers; and debts for death or personal injury caused by operating a
                                                                     motor vehicle, vessel, or aircraft while intoxicated from alcohol or drugs. Also, if a creditor can prove that a debt arose
                                                                     from fraud, breach of fiduciary duty, or theft, or from a willful and malicious injury, the bankruptcy court may determine
                                                                     that the debt is not discharged.

                                                                              Chapter 13: Repayment of All or Part of the Debts of an Individual with Regular Income ($235 filing fee,
                                                                     $75 administrative fee: Total fee $310)
                                                                              Chapter 13 is designed for individuals with regular income who would like to pay all or part of their debts in
                                                                     installments over a period of time. You are only eligible for chapter 13 if your debts do not exceed certain dollar amounts
                                                                     set forth in the Bankruptcy Code.
                                                                              Under chapter 13, you must file with the court a plan to repay your creditors all or part of the money that you owe
                                                                     them, using your future earnings. The period allowed by the court to repay your debts may be three years or five years,
                                                                     depending upon your income and other factors. The court must approve your plan before it can take effect.
                                                                              After completing the payments under your plan, your debts are generally discharged except for domestic support
                                                                     obligations; most student loans; certain taxes; most criminal fines and restitution obligations; certain debts which are not
                                                                     properly listed in your bankruptcy papers; certain debts for acts that caused death or personal injury; and certain long term
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                                                                     secured obligations.

                                                                              Chapter 11: Reorganization ($1167 filing fee, $550 administrative fee: Total fee $1717)
                                                                              Chapter 11 is designed for the reorganization of a business but is also available to consumer debtors. Its
                                                                     provisions are quite complicated, and any decision by an individual to file a chapter 11 petition should be reviewed with
                                                                     an attorney.

                                                                              Chapter 12: Family Farmer or Fisherman ($200 filing fee, $75 administrative fee: Total fee $275)
                                                                              Chapter 12 is designed to permit family farmers and fishermen to repay their debts over a period of time from
                                                                     future earnings and is similar to chapter 13. The eligibility requirements are restrictive, limiting its use to those whose
                                                                     income arises primarily from a family-owned farm or commercial fishing operation.

                                                                     3. Bankruptcy Crimes and Availability of Bankruptcy Papers to Law Enforcement Officials

                                                                              A person who knowingly and fraudulently conceals assets or makes a false oath or statement under penalty of
                                                                     perjury, either orally or in writing, in connection with a bankruptcy case is subject to a fine, imprisonment, or both. All
                                                                     information supplied by a debtor in connection with a bankruptcy case is subject to examination by the Attorney General
                                                                     acting through the Office of the United States Trustee, the Office of the United States Attorney, and other components and
                                                                     employees of the Department of Justice.

                                                                     WARNING: Section 521(a)(1) of the Bankruptcy Code requires that you promptly file detailed information regarding
                                                                     your creditors, assets, liabilities, income, expenses and general financial condition. Your bankruptcy case may be
                                                                     dismissed if this information is not filed with the court within the time deadlines set by the Bankruptcy Code, the
                                                                     Bankruptcy Rules, and the local rules of the court. The documents and the deadlines for filing them are listed on Form
                                                                     B200, which is posted at http://www.uscourts.gov/bkforms/bankruptcy_forms.html#procedure.
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                                                                                                                   United States Bankruptcy Court
                                                                                                                        District of New Jersey

                                                                     IN RE:                                                                                  Case No.
                                                                     Glancey, William E.                                                                     Chapter 13
                                                                                                            Debtor(s)

                                                                                                            VERIFICATION OF CREDITOR MATRIX
                                                                     The above named debtor(s) hereby verify(ies) that the attached matrix listing creditors is true to the best of my(our) knowledge.



                                                                     Date: March 13, 2015                   Signature: /s/ William E. Glancey
                                                                                                                         William E. Glancey                                                      Debtor



                                                                     Date:                                  Signature:
                                                                                                                                                                                     Joint Debtor, if any
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            Case 15-14390-JNP               Doc 1    Filed 03/13/15 Entered 03/13/15 12:49:30       Desc Main
                                                    Document      Page 38 of 42
Glancey, William E.                           First USA Bank                     Pressler & Pressler
256 Asbury Road                               800 Brooksedge Blvd.               Attn: New Century Financial
Egg Harbor Twp., NJ 08234                     Westerville, OH 43081              7 Entin Rd.
                                                                                 Parsippany, NJ 07054



SUBRANNI ZAUBER LLC               ;ëA0ú°i     HSBC Bank                          Sears-Citibank
ZAUBER                                        POB 9                              POB 6282
1624 Pacific Avenue                           Buffalo, NY 14240                  Sioux Falls, SD 57117-6282
Atlantic City, NJ 08401-0000



Advanced Financial Company                    HSBC-Boscovs                       Stradley Ronon
POB 4068                                      POB 4274                           Attn Eastern Regional Medical Center
Carlsbad, CA 92018                            Reading, PA 19606                  2005 Market St #2600
                                                                                 Philadelphia, PA 19103



Bank of America                               IndyMac Mortgage Services          SYNCHRONY Bank/JC Penney
POB 982235                                    POB 4045                           POB 965007
El Paso, TX 79998                             Kalamazoo, MI 49009                Orlando, FL 32896




Cancer Treatment Centers Of America           IRS                                Zucker, Goldberg & Ackerman, LLC
1331 East Wyoming Ave                         POB 7346                           POB 1024
Phila, PA 19124                               Philadelphia, PA 19101-7346        Mountainside, NJ 07092




Capital Collection Service                    McCabe, Weisberg & Conway
POB 150                                       216 Haddon Ave, Ste 303
West Berlin, NJ 08091-0150                    Westmont, NJ 08108




Capital One                                   New Century Financial Services
POB 30281                                     110 S. Jefferson Rd 104
Salt Lake City, UT 84130                      Whippany, NJ 07981




Discover Financial Services                   NJ Division Of Taxation
POB 15316                                     POB 245
Wilmington, DE 19850-5316                     Trenton, NJ 08695




Eastern Regional Medical Center               Onewest Bank
1331 East Wyoming Ave                         Home Loan Servicing
Phila, PA 19124                               6900 Beatrice Dr.
                                              Kalamazoo, MI 49009



First Premier Bank                            Portfolio Recovery Assoc.
601 S. Minnesota Ave                          120 Corporate Blvd, Ste 100
Sioux Falls, SD 57104                         Norfolk, VA 23502-4962
                                                                                    Case 15-14390-JNP                     Doc 1     Filed 03/13/15 Entered 03/13/15 12:49:30                           Desc Main
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                                                                       Fill in this information to identify your case:                                                               Check as directed in lines 17 and 21:
                                                                                                                                                                                     According to the calculations required by
                                                                       Debtor 1          William E. Glancey
                                                                                         __________________________________________________________________                          this Statement:
                                                                                            First Name               Middle Name            Last Name

                                                                       Debtor 2             ________________________________________________________________                          ü1. Disposable income is not determined
                                                                       (Spouse, if fil ing) First Name               Middle Name            Last Name                                       under 11 U .S.C. § 1325(b)(3).

                                                                       United States Bankruptcy Court for the:   District of New Jersey                                                  2. Disposable income is determined
                                                                                                                                                                                            under 11 U .S.C. § 1325(b)(3).
                                                                       Case number         ___________________________________________
                                                                       (If known)                                                                                                    ü 3. The commitment period is 3 years .
                                                                                                                                                                                         4. The commitment period is 5 years.

                                                                                                                                                                                         Check if this is an amended filing

                                                                     Official Form 22C–1
                                                                     Chapter 13 Statement of Your Current Monthly Income
                                                                     and Calculation of Commitment Period                                                                                                             12/14

                                                                     Be as complete and accurate as p ossible. If two married people are filing together, both are equally responsible for being accurate. If
                                                                     more space is needed, attach a separate sheet to this form. Include the line number to which the additional information applies. On the
                                                                     top of any additional pages, write your name and case number (if known).
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                                                                     Part 1:          Calculate Your Average Monthly Income

                                                                     1. What is your marital and filing status? Check one only.
                                                                        ü Not married. Fill out Column A, lines 2-11.
                                                                               Married. Fill out both Columns A and B, lines 2-11.

                                                                        Fill in the average monthly income that you received fr om all sources, derived during the 6 ful l months before you file this
                                                                        bankruptcy case. 11 U.S.C. § 101(10A). For exam ple, if you are filing on September 15, the 6-month period would be March 1 through
                                                                        August 31. If t he amount of your monthly income varied during the 6 months, add the income for all 6 months and divide the total by 6. F ill in
                                                                        the result. Do not include any income amount more than once. For example, if both spouses own the same rental property, put the income
                                                                        from that property i n one column only. If you have nothing to report for any line, write $0 in the space.

                                                                                                                                                                      Column A                Column B
                                                                                                                                                                     Debtor 1                 Debto r 2 or
                                                                                                                                                                                              non -filing spouse

                                                                     2. Your gross w ages, salary, tips, bonuses, overti me, and com missions (before all
                                                                        payrol l deductions ).                                                                        $____________
                                                                                                                                                                               0.00              $__________
                                                                                                                                                                                                        0.00
                                                                     3. Alimony and maintenance payments. Do not include payments from a spouse if
                                                                        Column B is filled in.                                                                                 0.00
                                                                                                                                                                      $____________              $__________
                                                                                                                                                                                                        0.00
                                                                     4. All amounts from any source which are r egular ly paid for household expenses of
                                                                        you or your dependents, including child support. Include regular contributions from
                                                                        an unmarried partner, members of your household, your dependents, parents , and
                                                                        roommates. Include regular contributions from a spouse only if Column B is not filled
                                                                        in. Do not include payments you listed on line 3.                                             $___________
                                                                                                                                                                              0.00                      0.00
                                                                                                                                                                                                 $__________

                                                                     5. Net income from operating a b usiness, profession, or farm

                                                                        Gross receipts (before all deductions)                                       0.00
                                                                                                                                            $____________

                                                                        Ordinary and necessary operating expenses                         – $____________
                                                                                                                                                     0.00

                                                                                                                                                             Copy
                                                                        Net mont hly income from a business, profession, or farm                     0.00
                                                                                                                                            $____________                      0.00
                                                                                                                                                                      $____________                    0.00
                                                                                                                                                                                                 $_________
                                                                                                                                                             here


                                                                     6. Net income from rental and other real property
                                                                        Gross receipts (before all deductions)                                      0.00
                                                                                                                                           $____________

                                                                        Ordinary and necessary operating expenses                         – $_____________
                                                                                                                                                     0.00
                                                                                                                                                             Copy
                                                                        Net mont hly income from rental or other real property                      0.00
                                                                                                                                           $____________
                                                                                                                                                             here     $____________
                                                                                                                                                                               0.00                    0.00
                                                                                                                                                                                                $__________

                                                                      Official Form 22C–1                Chapter 13 Statement of Your Curr ent Monthly Income and Calculation of Commitment Period                           page 1
                                                                                     Case 15-14390-JNP                                  Doc 1             Filed 03/13/15 Entered 03/13/15 12:49:30 Desc Main
                                                                      Debtor 1             William E. Glancey
                                                                                           _______________________________________________________       Document      Page 40 ofCase
                                                                                                                                                                                  42number (if known)_____ ________________________________
                                                                                           First Name          Middle Nam e                 Last Name



                                                                                                                                                                                                               Column A                             Column B
                                                                                                                                                                                                               Debtor 1                             Deb tor 2 or
                                                                                                                                                                                                                                                    n on- filing spouse

                                                                     7. Interest, dividends, and royalties                                                                                                                0.00
                                                                                                                                                                                                                 $____________                                 0.00
                                                                                                                                                                                                                                                       $__________

                                                                     8. Unemployment compensation                                                                                                                         0.00
                                                                                                                                                                                                                 $____________                                0.00
                                                                                                                                                                                                                                                       $__________

                                                                          Do not enter the amount if you contend that the amount received was a benefit under
                                                                          the Social Security Act. Instead, list it here: .... ..............................

                                                                             For you .......................................................................           $_____________
                                                                                                                                                                                 0.00
                                                                             For your spouse .........................................................                 $_____________
                                                                                                                                                                                 0.00

                                                                     9. Pension or retirem ent income. Do not include any amount received that was a
                                                                          benefit under the Social Security Act.                                                                                                       3,387.00
                                                                                                                                                                                                                 $____________                         $__________
                                                                                                                                                                                                                                                              0.00
                                                                     10. Income from all other sources not listed above. Specify the source and amount.
                                                                          Do not include any benefits received under the Social Security Act or payments
                                                                          received as a victim of a war crime, a crime against humanity , or international or
                                                                          domestic terrorism. If necess ary, list other s ources on a s eparate page and put the
                                                                          total on l ine 10c.
                                                                                                                                                                                                                 $_____________                       $___________
                                                                            10a. __________________________________________________________________
                                                                                                                                                                                                                 $_____________                       $___________
                                                                            10b. __________________________________________________________________

                                                                                                                                                                                                             + $____________                       + $__________
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                                                                            10c. Total amounts from separate pages, if any.                                                                                             0.00                                 0.00

                                                                     11. Calculate your total average monthly income. Add lines 2 through 10 for each
                                                                          column. Then add the total f or Column A to the total for Column B.                                                                    $____________
                                                                                                                                                                                                                       3,387.00               +       $___________
                                                                                                                                                                                                                                                              0.00            =   $________
                                                                                                                                                                                                                                                                                    3,387.00
                                                                                                                                                                                                                                                                                  Total average
                                                                                                                                                                                                                                                                                  m onthly income




                                                                     Part 2:            Determine How to Measure Your Deductions from Income

                                                                     12. Copy your total average monthly income from line 11. ..........................................................................................................................
                                                                                                                                                                                                                                                                              $_____________
                                                                                                                                                                                                                                                                                     3,387.00
                                                                     13. Calculate the marital adjustment. Check one:

                                                                          ü You are not married. Fill in 0 in line 13d.
                                                                               You are married and your spouse is filing with you. Fill in 0 in line 13d.
                                                                               You are married and your spouse is not filing with you.
                                                                               Fill in the amount of the income listed in line 11, Column B, that was NOT regularly paid for the household expenses of you
                                                                               or your dependents, such as payment of t he spouse’s tax liability or the spouse’s support of someone other than you or
                                                                               your dependents.
                                                                                In lines 13a-c, specify the basis for excluding this i ncome and t he amount of income devoted to each purpose. If
                                                                                necessar y, list additional adjustments on a s eparate page.

                                                                                If this adjustment does not apply, enter 0 on line 13d.

                                                                                13a. _______________________________________________________________________                                                         $___________
                                                                                13b. _______________________________________________________________________                                                         $___________
                                                                                13c. _______________________________________________________________________                                                      + $___________
                                                                                13d. Total .............................................................................................................             $___________
                                                                                                                                                                                                                             0.00                 Copy here.          13d .           0.00
                                                                                                                                                                                                                                                                              ____________


                                                                     14. Your current monthly income. Subtract line 13d from line 12.                                                                                                                                 14.           3,387.00
                                                                                                                                                                                                                                                                               $ __________


                                                                     15. Calculate your current monthly income for the year. Follow these steps:

                                                                          15a. Copy line 14 here                ..................................................................................................................................................... 15a.    $ ____________
                                                                                                                                                                                                                                                                                     3,387.00

                                                                                  Multiply line 15a by 12 (the number of months i n a year).                                                                                                                                  x 12
                                                                          15b. The result is your c urrent monthl y income for the year for this part of the form.                                                                                                  15b.
                                                                                                                                                                                                                                                                                 40,644.00
                                                                                                                                                                                                                                                                              $___________


                                                                      Official Form 22C–1                          Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period                                                                               page 2
                                                                                     Case 15-14390-JNP                                 Doc 1            Filed 03/13/15 Entered 03/13/15 12:49:30 Desc Main
                                                                      Debtor 1            William E. Glancey
                                                                                          _______________________________________________________      Document      Page 41 ofCase
                                                                                                                                                                                42number (if known)_____ ________________________________
                                                                                          First Name          Middle Nam e                Last Name




                                                                     16. Calculate the median family income that applies to you. Follow these steps:

                                                                          16a. Fill in the state in which you li ve.                                             _________
                                                                                                                                                                 New Jersey

                                                                          16b. Fill in the number of people in your household.                                   _________
                                                                                                                                                                   7

                                                                          16c. Fill in the median family income for your state and size of household. ............................................................................ 16c.
                                                                                                                                                                                                                                                                          130,037.00
                                                                                                                                                                                                                                                                       $___________
                                                                                  To find a list of applicable median income amounts, go online using the link specified in the separate
                                                                                  instructions for this form. This list may also be available at the bankruptcy clerk’s office.

                                                                     17. How do the lines compare?

                                                                          17a.   ü Line 15b is less than or equal to line 16c. On the top of page 1 of this form, check box 1, Disposable income is not determined under 11 U.S.C.
                                                                                       § 1325(b)(3). Go to Part 3. Do NOT fill out Calculation of Disposable Income (Official Form 22C–2).

                                                                          17b.         Line 15b is more t han line 16c. On the top of page 1 of this form, check box 2, Dis posable income is determined under 11 U.S.C.
                                                                                       § 1325(b)(3). Go to Part 3 and fill out Calculation of Disposable Income (Official Form 22C–2). On line 39 of that form, copy
                                                                                       your current monthly income from line 14 above.

                                                                     Part 3:             Calculate Your Commitment Period Under 11 U.S.C. §1325(b)(4)


                                                                     18. Copy your total average monthly income from line 11. .......................................................................................................................... 18.
                                                                                                                                                                                                                                                                          3,387.00
                                                                                                                                                                                                                                                                       $__________
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                                                                     19. Deduct the marital adjustment if it applies. If you are married, your spouse is not filing with you, and you contend
                                                                          that calculating the commitment period under 11 U.S.C. § 1325(b)(4) allows you to deduct part of your spouse’s
                                                                          income, copy the amount from line 13d.
                                                                          If the marital adjustment does not apply, fill in 0 on line 19a.                                                                                                                    19a.            0.00
                                                                                                                                                                                                                                                                       $__________

                                                                          Subtract line 19a from line 18.                                                                                                                                                     19b.         3,387.00
                                                                                                                                                                                                                                                                       $__________

                                                                     20. Calculate your current monthly income for the year. Follow these steps:


                                                                          20a. Copy line 19b.. ............................................................................................................................................................... 20a.
                                                                                                                                                                                                                                                                            3,387.00
                                                                                                                                                                                                                                                                       $___________

                                                                                  Multiply by 12 (the number of months in a year).                                                                                                                                    x 12
                                                                          20b . The result is your current monthly income for the year for this part of the form.                                                                                            20b.          40,644.00
                                                                                                                                                                                                                                                                       $___________


                                                                          20c. Copy the median family income for your state and size of household from line 16c. .... ....................................................
                                                                                                                                                                                                                                                                       $___________
                                                                                                                                                                                                                                                                          130,037.00

                                                                     21. How do the lines compare?

                                                                          ü Line 20b is less than line 20c. Unless otherwise ordered by the court, on the top of page 1 of this form, check box 3, The commitment period is
                                                                               3 years. Go to Part 4.
                                                                               Line 20b is more than or equal to line 20c. Unless otherwise ordered by the court, on the top of page 1 of this form,
                                                                               check box 4, The commitment period is 5 years . Go to Part 4.


                                                                      Part 4:           Sign Below

                                                                             By signing here, under penalty of perjur y I declare that the i nformation on this st atement and in any attachments is true and correct.

                                                                                   ___________________________________________________
                                                                                  /s/ William E. Glancey                                                                                 ____________________________________
                                                                                   Signatur e of Debtor 1                                                                                Signature of Debtor 2


                                                                                  Date _________________
                                                                                       March 13, 2015                                                                                    Date _________________
                                                                                         MM / DD         / YYYY                                                                                  MM / DD         / YYYY



                                                                             If you checked 17a, do N OT fill out or file Form 22C–2.
                                                                             If you checked 17b, fill out Form 22C–2 and file it with this form. On line 39 of that form, copy your current monthly income from line 14 above.




                                                                      Official Form 22C–1                         Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period                                                                       page 3
                                                                              Case
                                                                     B201B (Form 201B) 15-14390-JNP
                                                                                       (12/09)                Doc 1      Filed 03/13/15 Entered 03/13/15 12:49:30                          Desc Main
                                                                                                                        Document      Page 42 of 42
                                                                                                                       United States Bankruptcy Court
                                                                                                                            District of New Jersey

                                                                     IN RE:                                                                                            Case No.
                                                                     Glancey, William E.                                                                               Chapter 13
                                                                                                                Debtor(s)

                                                                                                    CERTIFICATION OF NOTICE TO CONSUMER DEBTOR(S)
                                                                                                        UNDER § 342(b) OF THE BANKRUPTCY CODE

                                                                                                      Certificate of [Non-Attorney] Bankruptcy Petition Preparer

                                                                     I, the [non-attorney] bankruptcy petition preparer signing the debtor’s petition, hereby certify that I delivered to the debtor the attached
                                                                     notice, as required by § 342(b) of the Bankruptcy Code.


                                                                     Printed Name and title, if any, of Bankruptcy Petition Preparer                                  Social Security number (If the bankruptcy
                                                                     Address:                                                                                         petition preparer is not an individual, state
                                                                                                                                                                      the Social Security number of the officer,
                                                                                                                                                                      principal, responsible person, or partner of
                                                                                                                                                                      the bankruptcy petition preparer.)
                                                                                                                                                                      (Required by 11 U.S.C. § 110.)
                                                                     X
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                                                                     Signature of Bankruptcy Petition Preparer of officer, principal, responsible person, or
                                                                     partner whose Social Security number is provided above.

                                                                                                                            Certificate of the Debtor

                                                                     I (We), the debtor(s), affirm that I (we) have received and read the attached notice, as required by § 342(b) of the Bankruptcy Code.



                                                                     Glancey, William E.                                                    X /s/ William E. Glancey                                      3/13/2015
                                                                     Printed Name(s) of Debtor(s)                                               Signature of Debtor                                            Date


                                                                     Case No. (if known)                                                    X
                                                                                                                                                Signature of Joint Debtor (if any)                             Date


                                                                     Instructions: Attach a copy of Form B 201A, Notice to Consumer Debtor(s) Under § 342(b) of the Bankruptcy Code.

                                                                     Use this form to certify that the debtor has received the notice required by 11 U.S.C. § 342(b) only if the certification has
                                                                     NOT been made on the Voluntary Petition, Official Form B1. Exhibit B on page 2 of Form B1 contains a certification by the debtor’s
                                                                     attorney that the attorney has given the notice to the debtor. The Declarations made by debtors and bankruptcy petition preparers on
                                                                     page 3 of Form B1 also include this certification.
